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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                    www.flsb.uscourts.gov


In re:                                               Case No. 20-20259-RAM
                                                     (Jointly Administered)
It’Sugar FL I LLC, et al,
                                                     Chapter 11
         Debtors.
                               /

           EMERGENCY MOTION OF THE DEBTORS FOR INTERIM
            AND FINAL ORDERS (I) AUTHORIZING DEBTOR (A) TO
   OBTAIN POSTPETITION FINANCING FROM SHL HOLDINGS, INC.; AND
       (B) TO UTILIZE CASH COLLATERAL, (II) GRANTING ADEQUATE
           PROTECTION, (III) MODIFYING THE AUTOMATIC STAY,
 (IV) SCHEDULING FINAL HEARING; AND (V) GRANTING RELATED RELIEF

         The Debtors seek to continue to operate in the ordinary course, to preserve the
         value of the estate, to preserve jobs and to maintain operations. Without the
         immediate authorization to obtain financing, the Debtors will not be able to meet
         payroll, rent, tax, insurance and other obligations necessary for its day-to-day
         operations. The Debtors respectfully request that the Court waive the provisions
         of Local Rule 9075-1(B) which requires an affirmative statement that a bona fide
         effort was made in order to resolve the issues raised in the Motion, as the relief
         requested is urgent in nature and does not lend itself to advance resolution.

         It’Sugar FL I LLC, It’Sugar LLC, It’Sugar Atlantic City LLC, and It’Sugar FLGC LLC

(collectively, “It’Sugar” or the “Debtors”) as debtor in possession, moves this Court pursuant to

sections 105, 361, 362, 363, 364 and 507(b) of title 11 of the United States Code (“Bankruptcy

Code”), Rules 4001(b) and (c) of the Federal Rules of Bankruptcy Procedure (“Bankruptcy

Rules”), Rules 4001-2 and 4001-3 of the Local Rules of United States Bankruptcy Court for the

Southern District of Florida (“Local Rules”), and this Court’s Guidelines for Motions Seeking

Authority to Use Cash Collateral and Motions Seeking Approval of Postpetition Financing

(“Guidelines”), on an emergency basis, for entry of interim and final orders: (a) authorizing the
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Debtors to obtain senior secured postpetition financing; (b) authorizing the Debtors to use Cash

Collateral (as defined below); (c) granting liens and providing superpriority claims with respect

to such postpetition financing; (d) approving the form of adequate protection to be provided by

the Debtors; (e) modifying the automatic stay to the extent necessary to effectuate the terms of

the DIP Orders (as defined below); (f) scheduling a final hearing to consider entry of the Final

Order (as defined below); and (g) granting related relief in connection with the DIP Financing

(as defined below) (“Motion”). In support, the Debtors respectfully state as follows.

    DISCLOSURES UNDER BANKRUPTCY RULES, LOCAL RULES AND GUIDELINES

        Pursuant to Bankruptcy Rule 4001(b), (c) and (d), Local Rules 4001-2, 4001-3, 9013-1(F)

and (G), and the Guidelines, the Debtors submit the following list and summary of the material

terms of its proposed secured financing and use of cash collateral pursuant to the proposed

Interim Order attached as Exhibit A (“Interim Order”), setting forth the location of such material

terms in the Interim Order.1


    Material Provision           Location in Interim                        Summary Description
                                Order and/or Loan and
                                 Security Agreement
Prepetition Lender             Interim Order ¶ D                 SHL Holdings, Inc.
DIP Lender                     Loan and Security                 SHL Holdings, Inc.
                               Agreement, p. 1, ¶ 3

Principal balance due          Interim Order ¶¶ D.3 and          $6,216,362.00
Prepetition Lender             5.a.; Loan and Security
                               Agreement p. 2
DIP Loan Amount                Loan and Security                 $4,000,000.00
                               Agreement ¶ 3


1
  The Loan and Security Agreement is attached as Exhibit B to this Motion. References to the Budget are to the 13-
week cash Budget contemplated by this Motion and attached to the proposed Interim Order. References to the
Interim Order is to the proposed Interim Order attached as Exhibit A. All capitalized terms not defined in this chart
shall have the meanings ascribed to them in this Motion, the Loan and Security Agreement, and the Interim Order,
as applicable.

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  Material Provision      Location in Interim                    Summary Description
                         Order and/or Loan and
                          Security Agreement
Interest Rate            Id.                            LIBOR + 1.5%
Security Interest        Loan and Security              Lien on and security interest in the
                         Agreement ¶ 5                  Collateral (as defined in the Loan and
                                                        Security Agreement)
Liens, Superpriority     Interim Order ¶¶ 3, 4, 6,      Senior lien and super priority
claim, and priming       7; Loan and Security           administrative expense claim
liens                    Agreement ¶¶ 4 and 5

Cash Collateral          Interim Order ¶¶ 2 and 5       Subject to Interim Order and Loan and
                                                        Security Agreement, Debtors are
                                                        authorized to use Cash Collateral (as
                                                        defined in Motion)
Proposed Use of DIP      Budget attached as             Working capital and general corporate
Loan Proceeds            Exhibit to Interim Order       purposes; payment of certain
                                                        administrative costs as set forth in the
                                                        Budget, including professional fees
                                                        contemplated by the Interim Order
Termination Date                                        The Interim Period up to a final hearing
                                                        on this Motion, and subject to
                                                        termination provisions in the Interim
                                                        Order
Termination Provisions   Interim Order ¶ 2; Loan        Upon Event of Default, Debtors’ right to
                         and Security Agreement         use Cash Collateral terminates, and SHL
                         p. 4 and ¶ 9                   may declare all obligations immediately
                                                        due and payable and charge interest,
                                                        apply Collateral held or assigned to SHL
                                                        toward monies due, or alternatively, file
                                                        suit(s) to foreclose Loan and Security
                                                        Agreement. SHL’s remedies are
                                                        cumulative and exercise of one remedy
                                                        does not preclude exercise of another
                                                        remedy.
Remedies Notice          Interim Order p. 5, ¶ 2;       Upon occurrence of Cash Collateral
Period                   Loan and Security              Termination Event, SHL must give 5-
                         Agreement p. 9, ¶ 9; p.        days written notice to Debtors prior to
                         10 ¶ 10                        commencing a proceeding to determine
                                                        Debtors’ right to further use of Cash
                                                        Collateral; SHL must give Debtors at
                                                        least 10 days’ notice before effectuating
                                                        public sale or of time after which any

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  Material Provision      Location in Interim                    Summary Description
                         Order and/or Loan and
                          Security Agreement
                                                        private sale or other disposition of
                                                        Collateral is to be made
Adequate Protection      Interim Order p. 6-8, ¶ 5;     SHL is entitled to adequate protection in
                         Loan and Security              an amount equal to the aggregate
                         Agreement p. 5; p. 11, ¶       diminution in the value of its interest in
                         11(d)                          the Collateral including Cash Collateral
                                                        as provided for under Bankruptcy Code.
                                                        SHL is entitled to further adequate
                                                        protection, including a stipulation of
                                                        Prepetition Liens and Debt, the
                                                        allowance of SHL’s secured claim, the
                                                        granting of Replacement Liens
                                                        (subordinate to the DIP Liens) on the
                                                        Collateral, the reaffirmation of the
                                                        Prepetition Guaranty and other
                                                        Prepetition Loan Documents, and the
                                                        payment of Fees and Expenses pursuant
                                                        to section 506(b) of the Bankruptcy
                                                        Code.
Debtor’s                 Interim Order p. 2-3,          Among other things, Debtors
Acknowledgments and      ¶D(1)-(6); p. 5, ¶3; p.6,      acknowledge the Prepetition Debt and
Agreement                ¶4; p. 6, ¶5(a); Loan and      the enforceability of the Prepetition
                         Security Agreement p. 1-       Liens. No Avoidance Action shall lie
                         2, ¶¶ A-G; p. 2, ¶ 1; p.       regarding obligation, transfer or grant of
                         10-11, ¶ 11(d)                 security interests under the DIP
                                                        Documents.
                                                        Stipulations of the Debtors are binding
                                                        on any successor and third parties
                                                        including chapter 7 or 11 trustee.
Waiver/modification of   Interim Order p.8, ¶6          Entry of an order granting relief from
stay                                                    stay to allow DIP Lender to exercise
                                                        rights under the DIP Documents,
                                                        including rights set forth in the Loan and
                                                        Security Agreement, with the only issue
                                                        to be raised by parties-in-interest, if any,
                                                        being whether, in fact, an Event of
                                                        Default has occurred and is continuing.
Limitation on use of     Interim Order p. 5-6, ¶2;      Debtors’ estates’ right to use Cash
proceeds                 p. 11, ¶ 11                    Collateral subject to terms and
                                                        conditions of Interim Order and Loan

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  Material Provision         Location in Interim                   Summary Description
                            Order and/or Loan and
                             Security Agreement
                                                          and Security Agreement as provided for
                                                          in the Budget; such right shall be subject
                                                          to a Cash Collateral Termination Event.
                                                          More specifically, proceeds of DIP Loan
                                                          may not be used to, among other things,
                                                          object to and or challenge the amount,
                                                          validity, perfection, priority or
                                                          enforceability of or asserting any
                                                          defense, counterclaim or offset to any
                                                          amount due under the DIP Documents or
                                                          Prepetition Loan Documents for lender
                                                          liability or actions pursuant to Sections
                                                          105, 502(d), 510, 544, 547, 548, 549,
                                                          550 or 552 of the Bankruptcy Code.
Waiver of right to file a                                 None
plan
Deadlines for filing a                                    None
plan
Waiver/modification of      Interim Order p. 6, ¶5.a.;    Debtors acknowledge that SHL’s
non-bankruptcy law re       p. 8-9, ¶¶7, 8;               Prepetition Liens were duly perfected;
perfection                                                and perfection of the Replacement Liens
                                                          and DIP Liens provided under the
                                                          Interim Order and Loan and Security
                                                          Agreement
Indemnification                                           None
Release/Waiver of                                         See comments to Debtors’
claims                                                    acknowledgements and agreement,
                                                          above.
Limitation of rights of     Interim Order, ¶8             Debtors waive the right to surcharge
parties under section                                     SHL’s Collateral under Section 506(c)
506(c)


Carve Out                   Loan and Security             SHL’s Postpetition Liens and Super-
                            Agreement p. 7, ¶ 4           Priority Claim shall be subordinate to:
                                                            (i) the claims of retained professionals
                                                            of the estates in this Case up to the
                                                            amounts set forth in the Budget.
                                                            (ii) unpaid fees and expenses of the

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  Material Provision         Location in Interim                 Summary Description
                            Order and/or Loan and
                             Security Agreement
                                                           United States Trustee and the Clerk of
                                                           the Court.
Granting of lien on                                      None
claims/causes of action
Binding Effect                                           See comments to Debtors’
                                                         acknowledgements and agreement,
                                                         above.
Interim Order                                            Substantially in the form of the Interim
                                                         Order attached to the Motion as Exhibit
                                                         A.



                                         Relief Requested

       1.        Pursuant to this Motion, the Debtors seek the scheduling of interim and final

hearings, and the entry of the Orders providing the following relief:

                 a.      DIP Financing: authorizing the Debtors to obtain postpetition financing
                 (“DIP Financing”) pursuant to the terms and conditions of the DIP Documents
                 (as defined herein), the Interim Order (as defined herein) and the Final Order (as
                 defined herein), pursuant to section 364(c)(1), 364(d), and 364(e) of the
                 Bankruptcy Code and Rule 4001(c) of the Bankruptcy Rules;
                 b.      DIP Documents: authorizing the Debtors to execute and enter into the
                 Loan and Security Agreement attached as “Exhibit B” (“Loan and Security
                 Agreement"), the promissory note, and all related or ancillary documents and
                 agreements, including all security and pledge agreements contemplated thereby
                 (collectively, as may be amended, supplemented or otherwise modified pursuant
                 to their respective terms, the "DIP Documents"), and to perform all such other
                 and further acts as may be required in connection with the DIP Documents;
                 c.      DIP Loan: authorizing the Debtors to borrow, on an interim basis, post-
                 petition financing of up to $4,000,000.00 (“Interim DIP Loan”) and seek other
                 financial accommodations from SHL as part of the DIP Financing;
                 d.     Cash Collateral: authorizing the Debtors to continue to use cash in which
                 SHL has an interest (“Cash Collateral”), including, but not limited to, the
                 proceeds of all Collateral (as defined in the DIP Documents and Prepetition Loan
                 Documents) in accordance with the Budget (as defined herein);
                 e.     Adequate Protection: granting SHL Replacement Liens and reaffirming
                 the Debtors’ obligations under the Prepetition Loan Documents.

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               f.      Debtor Stipulations: approving of certain stipulations in paragraph D of
               the Interim Order by the Debtors with respect to the Prepetition Loan Documents
               and DIP Documents and the liens and security interests arising therefrom, and
               releasing certain claims;
               g.      Superpriority Administrative Claims: allowing SHL a superpriority
               administrative expense claim under section 364(c)(1) of the Bankruptcy Code for
               all of the Debtors’ obligations under the DIP Documents, the Interim Order and
               the Final Order;
               h.      Automatic Stay: vacating or modifying the automatic stay imposed by
               Section 362 of the Bankruptcy Code to the extent necessary to implement and
               effectuate the terms of the DIP Documents, the Interim Order and the Final Order;
               i.     Interim Hearing: pursuant to Bankruptcy Rule 4001, that an interim
               hearing (“Interim Hearing”) on the Motion be held before this Court to consider
               entry of an order granting the Motion on an interim basis (“Interim Order”),
               thereby authorizing the Debtor, on an interim basis to borrow from SHL under or
               as permitted by the DIP Documents, and authorizing the Debtor’s use of Cash
               Collateral;
               j.     Final Hearing: scheduling a final hearing (“Final Hearing”) to be held
               within 45 days of the entry of this Interim Order to consider entry of a final order
               authorizing the DIP Financing (“Final Order”); and
               k.     Other Related Relief: granting the other relief set forth in the proposed
               Interim and Final Orders.

                                     Jurisdiction and Venue

       2.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

       3.      Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                            Background

       4.      On September 22, 2020 (“Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code.

       5.      The Debtors are operating their business and managing their affairs as a debtors-

in- possession pursuant to section 1107(a) and 1108 of the Bankruptcy Code.




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       6.      For a detailed description of the Debtors and operations, the Debtors respectfully

refer the Court and parties in interest to the Consolidated Chapter 11 Case Management

Summary (“Case Management Summary”) [ECF No. 8].

       7.      As disclosed in the Case Management Summary, SHL Holdings Inc. and It’Sugar

share a common, ultimate parent entity.

                                    Basis for Relief Requested

   A. The DIP Financing is a Sound Exercise of the Debtor’s Business Judgment

       8.      As described above, after appropriate investigation and analysis, the Debtors’

management has concluded that the DIP Financing is the best option available under the

circumstances of this case.

       9.      Bankruptcy courts routinely defer to a debtor's business judgment on most

business decisions, including the decision to borrow money, unless such decision is arbitrary and

capricious. See In re Farmland Indus., Inc., 294 B.R. 855, 879 (Bankr. W.D. Mo. 2003)

(articulating that approval of postpetition financing requires, inter alia, an exercise of "sound and

reasonable business judgment"); see also In re YL West 87th Holdings I LLC, 423 B.R. 421, 441

(Bankr. S.D.N.Y. 2010) (stating that "[c]ourts have generally deferred to a debtor's business

judgment in granting section 364 financing"); Trans World Airlines, Inc. v. Travellers Int'l AG

(In re Trans World Airlines, Inc.), 163 B.R. 964, 974 (Bankr. D. Del. 1994) (noting that the

interim loan, receivables facility and asset-based facility were approved because they "reflect[ed]

sound and prudent business judgment on the part of TWA . . . [were] reasonable under the

circumstances and in the best interest of TWA and its creditors"); cf. In re Filene's Basement,

LLC, No. 11- 13511(KJC), 2014 WL 1713416, at *12 (Bankr. D. Del. Apr. 29, 2014) (stating

"[t]ransactions under § 363 must be based upon the sound business judgment of the debtor or



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trustee."). In fact, "[m]ore exacting scrutiny would slow the administration of the debtor's estate

and increase its cost, interfere with the Bankruptcy Code's provision for private control of

administration of the estate, and threaten the court's ability to control a case impartially."

Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d 1303, 1311 (5th Cir. 1985).

       10.     Courts have noted that the business judgment test is not an onerous standard. See

Crystalin, LLC v. Selma Props. Inc. (In re Crystalin, LLC), 293 B.R. 455, 463–64 (B.A.P. 8th

Cir. 2003). Moreover,

       [u]nder the 'business judgment' rule, the management of a corporation's affairs is placed
       in the hands of its board of directors and officers, and the Court should interfere with
       their decisions only if it is made clear that those decisions are, inter alia, clearly
       erroneous, made arbitrarily, are in breach of the officers' and directors' fiduciary duty to
       the corporation, are made on the basis of inadequate information or study, are made in
       bad faith, or are in violation of the Bankruptcy Code.

In re Farmland Indus., Inc., 294 B.R. at 881 (internal citations omitted). Accordingly, courts

have reasoned that, "[b]usiness judgments should be left to the board room and not to [the]

Court." In re Farmland Indus., Inc., 294 B.R. at 881 (citations omitted).

       11.     Courts recognize that a debtor is entitled (if not required) to consider

noneconomic benefits offered by a proposed postpetition facility when exercising its business

judgment:

       Although all parties, including the Debtors and the Committee, are naturally motivated to
       obtain financing on the best possible terms, a business decision to obtain credit from a
       particular lender is almost never based purely on economic terms. Relevant features of
       the financing must be evaluated, including noneconomic elements such as the timing and
       certainty of closing, the impact on creditor constituencies and the likelihood of a
       successful reorganization.

In re ION Media Networks, Inc., No. 09-13125, 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. Jul.

6, 2009).




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        12.     The Debtors’ determination to enter into the DIP Financing represents an

appropriate exercise of its sound business judgment and should be approved. The Debtors’

ability to operate successfully and confirm a plan is contingent upon having the liquidity to meet

its post-petition financial obligations. Absent a credit facility to provide cash for operations and

to fund this case, the Debtors will be unable to achieve their restructuring goals to the detriment

of its estate and creditors.

        13.     The DIP Financing also demonstrates the support of SHL (the Debtors’

prepetition and post-petition financier) for the broader restructuring process and will provide

confidence to landlords, suppliers, vendors, customers, employees, other business partners that

the Debtors can continue to meet their commitments during this chapter 11 case.

        14.     In light of the Debtors’ overall circumstances, the Debtors believe that they could

not obtain postpetition financing from another lending source on terms equal or superior to the

DIP Financing. As such, and as further described in the Case Management Summary [ECF No.

8], the Debtor’s decision to enter into the DIP Financing is a sound exercise of the Debtor’s

business judgment. Accordingly, the Court should grant the Debtors authority to enter into the

DIP Financing and obtain the funds from SHL on the secured, administrative superpriority basis

described herein.

    B. The Debtors Should be Authorized to Obtain DIP Financing Under Section 364 of

        the Bankruptcy Code

        15.     It is essential to the success of the Debtors’ chapter 11 case that the Debtors

obtain access to sufficient postpetition financing and use of Cash Collateral. The preservation of

estate assets, the Debtors’ continuing viability and its ability to reorganize successfully and




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maximize value for stakeholders depends heavily upon the approval of the relief requested

herein.

          16.    Section 364(c) of the Bankruptcy Code authorizes a debtor to incur credit with

priority over all administrative claims. To incur credit on this basis, a debtor need only

demonstrate that, despite a good faith effort, credit was not available without the protections of

sections 364(c) of the Bankruptcy Code. Bray v. Shenandoah Fed. Sav. & Loan Ass'n (In re

Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir. 1986). Thus, "[t]he statute imposes no duty to

seek credit from every possible lender before concluding that such credit is unavailable." Id.; see

also In re Ames Dep't Stores, 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (holding that debtor made

a reasonable effort to secure financing where it approached four lending institutions, was rejected

by two, and selected the least onerous financing option from the remaining two lenders).

Moreover, where few lenders are likely to be able and willing to extend the necessary credit to

the debtor, "it would be unrealistic and unnecessary to require [the debtor] to conduct . . . an

exhaustive search for financing." In re Sky Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga.

1988), aff'd sub nom. Anchor Sav. Bank FSB v. Sky Valley, Inc., 99 B.R. 117, 120 n.4 (N.D. Ga.

1989).

          17.    The Debtors have satisfied the conditions under section 364(c) of the Bankruptcy

Code to obtain financing in exchange for a superpriority administrative claim. The Debtors have

determined that they are not able to secure sufficient funding on an unsecured or junior lien

basis. SHL has existing liens on substantially all the Debtor’s assets. Unencumbered assets, if

any, are insufficient to support the Debtors’ needs. Likewise, the Debtors have determined that

sufficient capital could not be raised on an unsecured basis or on a junior lien basis, even in

combination with the Debtors’ unencumbered non-cash assets, if any.



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       18.     Section 364(d)(1) authorizes the Debtors to obtain postpetition credit secured by a

senior lien on assets of the estate, if the Debtors are unable to obtain sufficient credit without

granting such a lien and the interests of any nonconsenting lien holders are adequately protected.

11 U.S.C. § 364(d)(1).

       19.     Courts have identified a number of factors that support a debtor's determination to

obtain credit secured by a "priming" lien, including: (a) whether the party subject to a priming

lien has consented to such treatment; (b) whether alternative financing is available on any other

basis (i.e., whether any better offers, bids or timely proposals are before the court); (c) whether

the proposed financing is necessary to preserve estate assets and is necessary, essential, and

appropriate for continued operation of the debtor's business; (d) whether the terms of the

proposed financing are reasonable and adequate given the circumstances of both the debtor and

proposed lender(s); and (e) whether the proposed financing agreement was negotiated in good

faith and at arm's length and entry therein is an exercise of sound and reasonable business

judgment and in the best interest of the debtor's estate and its creditors. See, e.g., In re Ames

Dep't Stores, Inc., 115 B.R. at 37-39; Bland v. Farmworker Creditors, 308 B.R. 109, 113-14

(S.D. Ga. 2003); In re Barbara K. Enter. Inc., No. 08-11474, 2008 WL 2439649 at *13 (Bankr.

S.D.N.Y. Jun. 16, 2008); see also 3 COLLIER ON BANKRUPTCY ¶ 364.05 (Alan N. Resnick

& Henry J. Sommer eds., 16th ed. 2013).

       20.     The Debtors respectfully submit that the DIP Financing, including the granting of

Priming Liens is appropriate under this analysis and the facts of this chapter 11 case. First, the

priming requested is consensual. The proposed financing in this case provides for a senior lien on

the assets of the estate, except to the extent of “Permitted Liens.” The Debtors are unaware of




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any secured claims other than the claims of SHL. Consequently, the Debtors assert that adequate

protection to existing lien-holders is not an issue in this case.

          21.    Second, the Debtors and their advisors have determined that the DIP Financing is

the only alternative readily available that can satisfy the Debtors’ financing needs in this case

and permit it to pursue a restructuring within chapter 11. The Debtors are only able to obtain

these negotiated terms by agreement to provide first priority priming liens. The Debtors do not

believe that the financing necessary to fund this chapter 11 case and pursue the Debtors’

restructuring goals is available from other lenders on comparable terms.

          22.    Third, the Debtors require immediate access to the DIP Financing, along with the

use of Cash Collateral, to provide adequate liquidity for the operation and maintenance of the

Debtors’ estates and assets. The Debtors’ access to the DIP Financing will benefit all

stakeholders by facilitating the Debtors’ efforts to preserve and enhance the value of the Debtor’s

assets.

          23.    Fourth, the Debtors’ entry into the DIP Financing is a sound exercise of business

judgment and is in the best interests of its estate, creditors and other parties in interest.

    C. The Debtor’s Proposed Adequate Protection Should be Approved

          24.    Parties with an interest in cash collateral or collateral that may be used to secure

postpetition financing are entitled to adequate protection. 11 U.S.C. § 363(e). Although section

361 of the Bankruptcy Code provides examples of forms of adequate protection, such as granting

replacement liens and administrative claims, courts decide what constitutes sufficient adequate

protection on a case-by-case basis. See, e.g., Martin v. United States (In re Martin), 761 F.2d

472, 474-76 (8th Cir. 1985); In re Satcon Tech. Corp., No. 12-12869, 2012 WL 6091160, at *6

(Bankr. D. Del. Dec. 7, 2012).



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       25.     At the same time, it is well-recognized that "adequate protection" is not

equivalent to "absolute protection." In re Beker Indus., Inc., 58 B.R. 725, 741 (Bankr. S.D.N.Y.

1986) ("Adequate protection, not absolute protection, is the statutory standard."). Further, "[i]n

order to encourage reorganization, the courts must be flexible in applying the adequate protection

standard" as long as such flexibility does "not operate to the detriment of the secured creditor's

interest." In re Martin, 761 F.2d at 476.

       26.     The Interim Order provides for adequate protection for SHL. As discussed in

greater detail in the summary chart of the DIP Financing terms above, these adequate protection

provisions include the reaffirmation and stipulation to the Prepetition Debt and Prepetition Lien,

the granting of replacement liens, and the payment of amounts allowable under Section 506 of

the Bankruptcy Code.

   D. The Parties have Proceeded in Good Faith

       27.     The terms and conditions of the DIP Financing and the use of Cash Collateral are

fair and reasonable and were negotiated by the parties in good faith and at arms' length.

Therefore, SHL should be accorded the benefits of section 364(e) of the Bankruptcy Code to the

extent any or all of the provisions of the DIP Documents, or any Interim Order or Final Order of

this Court pertaining thereto, are hereafter modified, vacated, stayed or terminated by subsequent

order of this or any other court.

   E. Request for Preliminary Hearing

       28.     Pursuant to Bankruptcy Rule 4001(c)(2), a final hearing on a motion to obtain

post-petition financing may not be commenced earlier than 14 days after service of such motion.

Upon request, however, the Court is empowered to conduct a preliminary expedited hearing on

the motion and authorize post-petition financing to the extent “necessary to avoid immediate and



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irreparable harm to the estate pending a final hearing.” Bankruptcy Rule 4001(c)(2). It is

essential to the continued operation of the Debtors’ business that it be authorized by this Court to

obtain post-petition financing and use of Cash Collateral as set forth in the Interim Order

pending the final hearing on the Motion. Unless this Motion is approved on an interim basis, the

Debtors will be unable to pay its employees and other immediate obligations as set forth in the

Budget, which would have a devastating effect on the Debtors’ operations, customer base and

revenues. Thus, funds are urgently needed to meet all of the Debtors’ immediate working capital

and other liquidity needs. Absent immediate relief, the Debtors’ ability to operate its business in

the ordinary course will be immediately and irreparably jeopardized.

       29.     The Debtors have been informed that SHL is willing to provide the DIP Loan,

subject to the conditions set forth in the Interim Order, including, without limitation, the

provisions of the Interim Order assuring that the security interests and liens pursuant to section

364(c) of the Bankruptcy Code and the various claims, superpriority claims, and other

protections granted pursuant to the Interim Order will not be affected by any subsequent reversal

or modification of the Interim Order, or by any other order that is applicable to the DIP Loan, as

provided in section 364(e) of the Bankruptcy Code.

       30.     The Debtors submit that SHL has acted in good faith in consenting to and in

agreeing to provide the financing, and the reliance of SHL on the assurances referred to above is

in good faith. SHL and the Debtors have negotiated at arms’ length and in good faith regarding

the DIP Financing to fund the continued operations of the Debtors. SHL will not agree to provide

the DIP Loan, absent the approval of the terms and conditions set forth in the Interim Order.

       31.     Given the impact that the Coronavirus pandemic and the restrictions imposed by

states and municipalities on the Debtors’ business operations, as well as the uncertainty of the



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Debtors’ future resulting therefrom and the extreme time constraints facing the Debtors, the

Debtors’ range of realistic financing alternatives is extremely limited if not non-existent. The

Debtors submit that the terms and conditions of the DIP Loan, taken as a whole, are fair and

reasonable under the circumstances, reflect the Debtors’ exercise of prudent business judgment

consistent with its fiduciary duty; and are supported by reasonably equivalent value and fair

consideration.

       32.       Accordingly, the Debtors request entry of an Interim Order in substantially the

form attached as Exhibit A, together with such amendments and modifications as may be made

by Debtors and SHL prior to, at or as a result of the Interim Hearing.

       33.       Such interim relief is essential to enable the Debtors to fulfill their existing

obligations, as specifically detailed in the Budget. These sums will be required to pay employees

and other immediate operating expenses such as rent that are the very minimum necessary for the

Debtors to continue as a going concern for the benefit of all of their creditors, employees and

stakeholders. Accordingly, the Debtors respectfully request approval of the Motion, pending a

final hearing on the Motion, on an emergency interim basis, on the terms and subject to the

conditions set forth in the Interim Order and Budget, or on such other terms that the Court may

deem appropriate.

   F. Request for Final Hearing

       34.       Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

the Court set a date that is no longer than 45 days from the Petition Date as date for the Final

Hearing.

       35.       The Debtors request that they be authorized to serve a copy of the Interim Order,

which fixes the time and date for filing objections, by first class mail on the notice parties listed



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below. The Debtors further request that the Court consider such notice of the Final Hearing to be

sufficient notice under Bankruptcy Rule 4001(c)(2).

   G. Request for Immediate Relief and Waiver of Stay

       36.     Pursuant to Bankruptcy Rules 6003(b) and 6004(h), the Debtors seek entry of

orders granting the relief requested by this Motion on an interim and final basis and, to the extent

it applies, a waiver of any stay of the effectiveness of such orders.

       37.     Bankruptcy Rule 6003(b) provides, in relevant part, that "[e]xcept to the extent

that relief is necessary to avoid immediate and irreparable harm, the court shall not, within 21

days after the filing of the petition, issue an order granting … a motion to use, sell, lease or

otherwise incur an obligation regarding property of the estate including a motion to pay all or

part of a claim that arose before the filing of the petition." Fed. R. Bankr. P. 6003(b). Therefore,

where the failure to grant any such requested relief would result in immediate and irreparable

harm to the Debtors’ estate, the Court may authorize the relief prior to the twenty-second day

following the Petition Date. Bankruptcy Rule 6004(h) provides that "[a]n order authorizing the

use, sale, or lease of property other than cash collateral is stayed until the expiration of 14 days

after entry of the order, unless the court orders otherwise." Fed. R. Bankr. P. 6004(h).

                                             NOTICE

       38.     Notice of this Motion has been given to: (a) Counsel for SHL; (b) the Office of

the United States Trustee for the Southern District of Florida; and (c) the Debtors’ 20 largest

general unsecured creditors. In light of the nature of the relief requested, the Debtor submits that

no further notice is necessary.




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                                    NO PRIOR REQUEST

       39.     No prior request for the relief sought in this Motion has been made to this or any

other Court in connection with this chapter 11 case.

    Dated: September 23, 2020.

                                                       s/ Michael S. Budwick
                                                       Michael S. Budwick, Esquire
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                                                       Telecopy: (305) 358-1221

                                                       Proposed Attorneys for Debtors




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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov
In re:
                                                    Chapter 11

IT’SUGAR FL I LLC,                                  Case No. 20-20259-RAM
IT’SUGAR LLC,                                       Case No. 20-20261-RAM
IT’SUGAR ATLANTIC CITY LLC,                         Case No. 20-20263-RAM
IT’SUGAR FLGC LLC,                                  Case No. 20-20264-RAM
                                                    Jointly Administered
            Debtors.
_______________________________/

  INTERIM ORDER (I) AUTHORIZING DEBTORS (A) TO OBTAIN POSTPETITION
      FINANCING FROM SHL HOLDINGS, INC.; AND (B) TO UTILIZE CASH
   COLLATERAL, (II) GRANTING ADEQUATE PROTECTION, (III) MODIFYING
     THE AUTOMATIC STAY, (IV) SCHEDULING FINAL HEARING; AND (V)
    GRANTING RELATED RELIEF NUNC PRO TUNC TO SEPTEMBER 22, 2020

         This matter came before this Court on September 25, 2020 at 1:30 p.m. (“Interim
Hearing”) upon the motion ("Motion") [ECF No. __] of It’Sugar FL 1, LLC, IT’Sugar, LLC,
IT’Sugar Atlantic City, LLC and IT’Sugar FLGC, LLC (collectively, “IT’Sugar” or the
"Debtors") pursuant to sections 105, 361, 362, 363, 364, and 507 of title 11 of the United States
Code (“Bankruptcy Code”) and Rules 4001(b) and (c) of the Federal Rules of Bankruptcy
Procedure (“Bankruptcy Rules”), seeking entry of interim and final orders: (a) authorizing Debtors




                                                                                        EXHIBIT A
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to obtain senior secured postpetition financing, (b) authorizing the Debtors to use Cash Collateral,
(c) granting liens and providing superpriority claims with respect to such postpetition financing,
(d) approving the form of adequate protection to be provided by the Debtor, (e) modifying the
automatic stay to the extent necessary to effectuate the terms of the Orders, (f) scheduling a final
hearing to consider entry of the Final Order, and (g) granting related relief in connection with the
DIP Financing.1
          This Order shall constitute findings of fact and conclusions of law pursuant to Fed. R.
Bankr. P. 7052 and shall take effect and be fully enforceable as of September 22, 2020 (“Petition
Date”).
          Upon the record made by the Debtors in the Motion and at the Interim Hearing, and
objections, if any, having been withdrawn, resolved or overruled by the Court, THE MOTION
IS GRANTED, ON AN INTERIM BASIS PENDING FINAL HEARING, AND THE
COURT FINDS THAT:
          A.     On the Petition Date, each of the Debtors filed voluntary petitions for relief under
chapter 11 of the Bankruptcy Code. Debtors have retained possession of their property and
continue to operate their businesses as debtors in possession pursuant to Bankruptcy Code sections
1107 and 1108.
          B.     The Court has jurisdiction over the Cases and this proceeding pursuant to 28 U.S.C.
§ 1334. Determination of the Motion constitutes a core proceeding as defined in 28 U.S.C.
§ 157(b)(2). Venue over this Motion is proper under 28 U.S.C. § 1409(a).
          C.     No Committee has been appointed in these Cases.
          D.     Debtors admit, stipulate and agree that:
                 1.      the Prepetition Loan Documents evidence and govern the Prepetition Debt,
          the Prepetition Liens and the prepetition financing relationship among IT’Sugar, LLC,
          IT’Sugar Atlantic City, LLC and IT’Sugar FLGC, LLC (“Prepetition Obligors”) and SHL;

                 2.      the Prepetition Debt constitutes the legal, valid, and binding obligation of
          the Prepetition Obligors, enforceable in accordance with the terms of the Prepetition Loan
          Documents;



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    All capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.
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                3.      as of the Filing Date, the Prepetition Obligors are liable for payment of the
        Prepetition Debt, and the Prepetition Debt shall be an allowed joint and several secured
        claim in their respective estates in an amount not less than $6,216,362.00, exclusive of
        accrued and accruing amounts allowable under section 506(b) of the Bankruptcy Code;

                4.      no offsets, defenses or counterclaims to the Prepetition Debt exist, and no
        portion of the Prepetition Debt is subject to contest, objection, recoupment, defense,
        counterclaim, offset, avoidance, recharacterization, subordination, or other claim, cause of
        action, or challenge of any nature under the Bankruptcy Code, under applicable non-
        bankruptcy law or otherwise;

                5.      upon the entry of this Order, SHL’s interests in the Collateral will be
        adequately protected; and

                6.      Debtors do not have, and hereby release, and are forever barred from
        bringing any claims, counterclaims, causes of action, defenses, or setoff rights relating to
        the Prepetition Loan Documents, the Prepetition Liens, the Prepetition Debt or otherwise,
        against SHL and its respective affiliates, subsidiaries, agents, officers, directors,
        employees, advisors, consultants, predecessors in interest, successors, and assigns.

        E.      Good cause has been shown for the entry of this Interim Order. The Debtors have
an immediate need to obtain the DIP Financing, and for authorization to continue to use Cash
Collateral to permit, among other things, the orderly continuation of the operation of its business;
the maintenance of business relationships with subcontractors, suppliers, vendors, and customers;
the payment of payroll and related employee related expenses; and the payment of rent, other
working capital and operational needs. The access of the Debtors to sufficient working capital and
liquidity made available through the DIP Financing and use of Cash Collateral is vital to the
preservation and maintenance of the going concern value of the Debtors and to the successful
reorganization of the Debtors. The proposed DIP Financing is in the best interests of the Debtors,
their estates and creditors.
        F.      The Debtors are unable to obtain financing on equal or more favorable terms from
sources other than SHL. The terms of the DIP Financing have no material impact on the rights of



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existing lien holders because SHL is the only existing lienholder and consents to the relief granted
herein.
          G.    SHL has acted in good faith regarding the DIP Financing and the Debtor’s
continued use of the Collateral, including Cash Collateral, in accordance with the terms hereof.
SHL is entitled to the adequate protection provided in this Interim Order as and to the extent set
forth herein pursuant to sections 361, 362, 363 and 364 of the Bankruptcy Code. In light of the
good faith of SHL, in accordance with section 364(e) of the Bankruptcy Code, the rights and
priorities granted to SHL under this Interim Order and the DIP Documents will not be affected or
avoided by any subsequent reversal or modification of this Interim Order or the Final Order. The
terms of this Order have been negotiated at arm's length and in good faith.
          H.    Under the circumstances of these Cases, this Interim Order is a fair and reasonable
response to Debtors' request for SHL’s consent to the use of Cash Collateral, and the entry of this
Interim Order is in the best interest of Debtors' estates and their creditors.
          I.    The notice provided by Debtors of the Motion, the hearing on the Motion, and the
entry of this Order satisfy the requirements of Bankruptcy Rules 2002, 4001(b),(c) and (d), and
9014 and Bankruptcy Code sections 102(1) 362, 363, and 364 and were otherwise sufficient and
appropriate under the circumstances, for purposes of this Interim Order.
                WHEREFORE, IT IS ORDERED THAT THE MOTION IS GRANTED,
AND THAT:
          1.    Authorization for the DIP Financing and DIP Documents. Debtors are authorized
to enter into and perform all obligations under the DIP Documents. Upon execution and delivery
of the DIP Documents, the DIP Documents shall constitute valid, binding and unavoidable
obligations of the Debtors, enforceable against the Debtors in accordance with the terms of the
DIP Documents and this Interim Order. No obligation, payment, transfer or grant of security under
the DIP Documents or this Interim Order shall be stayed, restrained, voidable, or recoverable under
the Bankruptcy Code or under any applicable law (including without limitation, any claims and
causes of action pursuant to sections 502(d), 544, 545, 547, 548 and 550 of the Bankruptcy Code
or under any applicable Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act
or other similar state statute or common law (each, an “Avoidance Action”)), or subject to any
defense, reduction, setoff, recoupment, recharacterization, subordination, disallowance,
impairment, cross-claim or counterclaim.

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       2.      Authorization to Use Cash Collateral. Debtors are authorized to use Cash Collateral
through the Termination Date solely (a) in accordance with the terms and provisions of this Interim
Order; and (b) to the extent required to pay, when due, those expenses enumerated in the Budget,
subject to permitted variances. Each of the following events shall be deemed a “Cash Collateral
Termination Event”:

               (a)     the Debtors use Cash Collateral in excess of the amounts set forth in the
       Budget;

               (b)     confirmation of a plan of reorganization other than a plan of reorganization
       that is reasonably acceptable to SHL (any such plan, an “Acceptable Plan”) or if the
       Debtors file, propose, support, or fail to contest in good faith the filing or confirmation of
       a plan of reorganization that is not an Acceptable Plan;

               (c)     a sale of all or substantially all of the assets of the Debtors;

               (d)     the Debtors commence any action including the filing of any pleading,
       against SHL with respect to the Prepetition Loan Documents;

               (e)     the occurrence of an Event of Default under the DIP Documents; and

               (f)     the date of the Final Hearing, if this Order is modified at the Final Hearing
       in a manner unacceptable to SHL.

               Upon the occurrence of a Cash Collateral Termination Event, SHL may upon five
       business days’ written notice to the Debtors, commence a proceeding in the Court to
       determine the Debtors’ right to any further use of the Cash Collateral, and the Debtors’
       authorization to use the Cash Collateral shall be deemed automatically terminated on the
       fifth business day following commencement of such proceeding unless the Court orders
       otherwise by such time, and no further consent to the use of Cash Collateral shall be implied
       by any other action, inaction, or acquiescence by SHL (“Termination Date”).

       3.      DIP Superpriority Claims. Pursuant to section 364(c)(1) of the Bankruptcy Code,
all of the obligations under the DIP Documents shall constitute allowed claims against the Debtors
(without the need to file any proof of claim) with priority over any and all administrative expenses,
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diminution in value claims and all other claims against the Debtors now existing or hereafter
arising, of any kind whatsoever, including, without limitation, all administrative expenses of the
kind specified in sections 503(b) and 507(b) of the Bankruptcy Code, and over any and all
administrative expenses or other claims arising under sections 105, 326, 328, 330, 331, 365,
503(b), 506(c), 507(a), 507(b), 726, 1113 or 1114 of the Bankruptcy Code (collectively the “DIP
Superpriority Claims”), regardless of whether such expenses or claims may become secured by a
judgment lien or other non-consensual lien, levy or attachment, which allowed claims shall for
purposes of section 1129(a)(9)(A) of the Bankruptcy Code be considered administrative expenses
allowed under section 503(b) of the Bankruptcy Code and shall be payable from and have recourse
to the Collateral and any proceeds of the Collateral; provided, however, that the DIP Superpriority
Claims shall be subordinate to Administrative Expense Carveout, including fees payable to the
U.S. Trustee under Section 1930(a) of title 28 of the United States Code. The DIP Superpriority
Claims shall be entitled to the full protection of section 364(e) of the Bankruptcy Code in the event
that this Interim Order or any provision hereof is vacated, reversed or modified, on appeal or
otherwise.

       4.      DIP Liens. As security for the Debtors’ obligations under the DIP Documents,
effective and perfected upon the date of entry of this Interim Order and without the necessity of
the execution, recordation of filings by the Debtors of mortgages, security agreements, control
agreements, pledge agreements, financing statements or other similar documents, or the possession
or control by SHL of, or over, any collateral, SHL is granted, pursuant to section 364(d)(1) of the
Bankruptcy Code, a valid, binding, continuing, enforceable, fully-perfected first priority senior
priming security interest in and lien upon the Collateral (“Priming Liens”), subject to the Permitted
Liens. The DIP Liens shall not be subject or subordinate to or made pari passu with any lien or
security interest that is avoided and preserved for the benefit of the Debtors and their estates under
section 551 of the Bankruptcy Code. The Priming Liens shall not be subject to or subordinate to
or made pari passu with any liens arising after the Petition Date including, without limitation, any
liens or security interests granted in favor of any federal, state, municipal or other governmental
unit (including any regulatory body), commission, board, or court for any liability of the Debtors.
The liens granted herein are collectively referred to as the “DIP Liens.” Notwithstanding anything
in this Interim Order, to the contrary, the DIP Liens shall not attach to (a) Avoidance Actions that
are not prohibited by the DIP Loan Agreement or their proceeds, or (b) subject to the entry of the
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Final Order, any property of the Debtors that is not of the same nature and type as the collateral
securing the Prepetition Debt.

       5.      Adequate Protection of Interests of SHL. SHL is entitled, pursuant to sections 361,
362, 363(e) and 364(d)(1) and 507 of the Bankruptcy Code, to adequate protection of its interests
in the Collateral, including the Cash Collateral, for and equal in amount to the aggregate
diminution in the value of its interests in the Collateral (including Cash Collateral) as provided in
the Bankruptcy Code.

               (a)     Priority of Prepetition Liens/Allowance of SHL’s Claim. Subject to the
       terms of this Interim Order: (1) the Prepetition Liens shall constitute priority liens,
       subordinate only to the Dip Liens; (2) the Prepetition Debt constitutes the legal, valid and
       binding obligation of the Prepetition Obligors, enforceable in accordance with the terms of
       the Prepetition Loan Documents; (3) no offsets, defenses or counterclaims to the
       Prepetition Debt exist, and no portion of the Prepetition Debt is subject to avoidance,
       recharacterization or subordination pursuant to the Bankruptcy Code or applicable
       nonbankruptcy law; (4) the Prepetition Loan Documents are valid and enforceable in all
       respects; and (5) SHL’s claim with respect to the Prepetition Debt shall for all purposes
       constitute an allowed secured claim within the meaning of Bankruptcy Code section 506
       in an amount not less than $6,216,362.00.

               (b)     Replacement Liens. SHL is granted (subordinate to the DIP Liens) first
       priority, properly perfected, valid and enforceable security interests in postpetition
       collateral, which are not subject to any claims, counterclaims, defenses, setoff, recoupment,
       or deduction, and which are otherwise unavoidable and not subject to recharacterization or
       subordination pursuant to any provision of the Bankruptcy Code, any agreement, or
       applicable nonbankruptcy law, for the benefit of SHL, in the Collateral (“Replacement
       Liens”) as security for payment of the Prepetition Debt. The Replacement Liens: (1) are
       and shall be in addition to the Prepetition Liens, subordinate only to the DIP Liens; (2) are
       and shall be properly perfected, valid and enforceable liens without any further action by
       Debtors or SHL and without the execution, filing or recordation of any financing
       statements, security agreements, mortgages or other documents or instruments; and (3)


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       shall remain in full force and effect notwithstanding any subsequent conversion or
       dismissal of the cases. Notwithstanding the foregoing, Debtors are authorized to and shall
       execute and deliver to SHL such financing statements, mortgages, instruments, and other
       documents as SHL may request from time to time in respect of the Replacement Liens of
       SHL.

               (c)     Reaffirmation of Guaranty.        The guaranty set forth in the Prepetition
       Guaranty and all other Prepetition Loan Documents shall remain in full force and effect
       notwithstanding the entry of this Order and any subsequent orders amending this Order or
       otherwise providing for the use of Cash Collateral consented to by SHL pursuant to
       Bankruptcy Code section 363. Guarantors are and shall remain liable for the guaranteed
       obligations under the Prepetition Security Agreement.

               (d)     Payment of Fees and Expenses. As additional adequate protection of the
       interests of SHL in the Collateral, Debtors will timely pay in cash all accrued and unpaid
       fees and expenses of SHL, within ten (10) days, after receipt by the Debtors of an invoice
       (which invoices may be redacted to protect privileged, confidential or proprietary
       information) without the necessity of any formal fee application. To the extent such fees
       and expenses are otherwise not allowable under 506(b), such payments will be deemed to
       reduce the Prepetition Debt on a dollar-for-dollar basis. Upon receipt of such invoices, the
       U.S. Trustee and any committee of unsecured creditors that may be appointed in these
       Cases shall have ten (10) days to notify the party submitting an invoice for payment of any
       objection to the reasonableness of such fees and costs. In the absence of such a timely
       objection, such parties shall be deemed to have irrevocably waived their right to object to
       such fees and costs.

       6.      Perfection of DIP Liens. SHL is authorized, but not required, to file or record (and
to execute in the name of the Debtors, as their true and lawful attorneys, with full power of
substitution, to the maximum extent permitted by law) financing statements, trademark filings,
copyright filings, mortgages, notices of lien or similar instruments in any jurisdiction, or take
possession of or control over assets, or take any other action, in each case, in order to validate and
perfect the liens and security interests granted to them hereunder. Without any further consent of


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any party, SHL is authorized and directed to take, execute, deliver and file such instruments (in
each case, without representation or warranty of any kind) to enable SHL to further validate,
perfect, preserve and enforce the DIP Liens. All such documents will be deemed to have been
recorded and filed, as applicable, as of the Petition Date. A certified copy of this Interim Order
may, in the discretion of SHL, be filed with or recorded in filing or recording offices in addition
to or in lieu of such financing statements, mortgages, notices of lien or similar instruments, and all
filing offices are authorized and directed to accept such certified copy of this Interim Order for
filing and recording, as applicable. For the avoidance of doubt, the automatic stay of section 362(a)
of the Bankruptcy Code shall be modified to the extent necessary to permit SHL to take all actions,
as applicable, referenced in this Interim Order.

       7.      Survival of DIP Liens and Priorities. In the event that any order is entered
dismissing the Case under section 1112 of the Bankruptcy Code or otherwise, such order shall
provide (in accordance with sections 105 and 349 of the Bankruptcy Code) that (i) the DIP
Superpriority Claims and DIP Liens, security interests, replacement security interests and
administrative claims granted to SHL pursuant to this Interim Order shall continue in full force
and effect and shall maintain their priorities as provided in this Interim Order until all obligations
of the Debtors shall have been paid and satisfied in full (and that such DIP Superpriority Claims,
DIP Liens, security interests, replacement security interests and administrative claims, shall,
notwithstanding such dismissal, remain binding on all parties in interest) and (ii) this Court shall
retain jurisdiction, notwithstanding such dismissal, for the purposes of enforcing the claims, liens
and security interests referred to in clause (i) above. Except as expressly provided in this Interim
Order, the DIP Liens, the DIP Superpriority Claims and all other rights and remedies of the DIP
Lender granted by the provisions of this Interim Order shall survive, and shall not be modified,
impaired or discharged by (i) the entry of an order converting the Cases to a case under chapter 7,
dismissing the Cases, or by any other act or omission, (ii) the entry of an order approving the sale
of any Collateral pursuant to section 363(b) of the Bankruptcy Code or (iii) the entry of an order
confirming a chapter 11 plan in these Cases and, pursuant to section 1141(d)(4) of the Bankruptcy
Code, the Debtors have waived any discharge as to any remaining DIP Obligations. The terms and
provisions of this Interim Order and the DIP Documents shall continue in these Cases, or in any
superseding chapter 7 cases under the Bankruptcy Code, and the DIP Liens, the DIP Superpriority
Claims and all other rights and remedies of SHL granted by the provisions of this Interim Order
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shall continue in full force and effect until the obligations of the Debtors to SHL are indefeasibly
paid in full in cash.

        8.      No Surcharge. In the exercise of their business judgment, subject to entry of the
Final Order, Debtors (or any Trustee) agree that there shall be no surcharge of the Collateral for
any purpose, unless agreed to by SHL. Further, Debtors represent that the Budget contains all
expenses that are reasonable and necessary for the operation of their businesses and the
preservation of the Collateral through the period for which the Budget runs, and therefore includes
all items potentially chargeable to SHL under Bankruptcy Code section 506(c). Therefore,
effective upon entry of the Final Order, the Debtors (or any Trustee) shall be deemed to have
waived any rights, benefits, or causes of action under Bankruptcy Code section 506(c), or any
other legal or equitable doctrine (including, without limitation, unjust enrichment) as they may
relate to or be asserted against SHL or the Collateral.

        9.      Stipulations Binding on Successors of Debtors and Third Parties; Challenge Period.
Subject to the entry of the Final Order, the Debtors’ stipulations, admissions, agreements, and
releases contained in this Interim Order shall be binding upon the Debtors and any successors
thereto (including, without limitation, any chapter 7 or chapter 11 trustee or examiner appointed
or elected for the Debtors) in all circumstances and for all purposes. The Debtors’ stipulations,
admissions, agreements and releases contained in this Interim Order shall be binding upon all other
parties in interest, including, without limitation, any committee appointed in this Case and any
other person or entity acting on behalf of the Debtors’ estates in all circumstances for all purposes;
provided, however, that the United States Trustee and any committee appointed in this case shall
have sixty (60) days after the entry of this Interim Order (“Challenge Period”) to file an adversary
proceeding or contested matter challenging the amount, validity, perfection, enforceability,
priority or extent of SHL’s interest in the Collateral or otherwise asserting or prosecuting any
action for preferences, fraudulent transfers or conveyances, other avoidance power claims or any
other claims, counterclaims or causes of action, objections, contests or defenses (collectively,
“Challenge Proceedings”) against SHL, its respective predecessors, successors and assigns,
affiliates, subsidiaries, funds, portfolio companies, management companies, and, with respect to
each of the foregoing entities, each of their respective current and former directors, officers,
members, employees, partners, managers, independent contractors, agents, representatives,

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principals, Professionals, consultants, financial advisors, attorneys, accountants, investment
bankers, and other professional advisors (each of the foregoing entities a “Representative” and,
collectively, the “Representatives”) in connection with matters related to the Prepetition Loan
Documents and the Collateral; provided that any pleadings filed in any Challenge Proceedings
shall set forth with specificity the basis for such challenge or claim and any challenges or claims
not so specified prior to the expiration of the Challenge Period shall be deemed forever waived,
released and barred.

       10.     Challenge Proceeding. If no such Challenge Proceeding matter is timely and
properly filed during the Challenge Period or the Court does not rule in favor of the plaintiff in
any such proceeding then: (a) the Debtors’ stipulations, admissions, agreements and releases
contained in this Interim Order shall be binding on all parties in interest, including, without
limitation, any committee of unsecured creditors appointed in these Cases; (b) notwithstanding
any reservations of rights contained in this Interim Order, the obligations of the Prepetition
Obligors under the Prepetition Loan Documents shall constitute allowed claims not subject to
defense, claim, counterclaim, recharacterization, subordination, offset or avoidance, for all
purposes in this Case, and any subsequent chapter 7 case; (c) the Prepetition Liens shall be deemed
to have been, as of the Petition Date, legal, valid, binding, perfected, security interests and liens,
not subject to recharacterization, subordination, avoidance or other defense; and (d) the Debtors’
obligations to SHL shall not be subject to any other or further claim or challenge by the Creditors’
Committee, any non-statutory committees appointed or formed in this Case or any other party in
interest acting or seeking to act on behalf of the Debtors’ estates and any defenses, claims, causes
of action, counterclaims and offsets by the Creditors’ Committee, any non-statutory committees
appointed or formed in this Case, or any other party acting or seeking to act on behalf of the
Debtors’ estate, whether arising under the Bankruptcy Code or otherwise, against SHL or its
Representatives arising out of or relating to the Prepetition Loan Documents shall be deemed
forever waived, released and barred. If any such Challenge Proceeding is timely filed during the
Challenge Period, the stipulations, admissions, agreements and releases contained in this Interim
Order shall nonetheless remain binding and preclusive (as provided in the second sentence of this
paragraph) on all other persons and entities, except to the extent that such stipulations, admissions,
agreements and releases were expressly and successfully challenged in such Challenge Proceeding
as set forth in a final, non-appealable order of a court of competent jurisdiction.
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       11.     No Challenge. Subject to the entry of the Final Order, no borrowings under the DIP
Financing may be used, in the Case or any other proceeding of any kind, or in any jurisdiction, to
(a) object and/or challenge the amount, validity, perfection, priority or enforceability of or
asserting any defense, counterclaim or offset to, any amount due under the DIP Documents or the
Prepetition Loan Documents, the validity, perfection, priority, extent or enforceability of any
amount due under the DIP Documents or the Prepetition Liens or the liens or claims granted under
this Interim Order, the DIP Documents or the Prepetition Loan Documents, including, in each case,
without limitation, for lender liability or pursuant to section 105, 502(d), 510, 544, 547, 548, 549,
550, or 552 of the Bankruptcy Code, applicable non-bankruptcy law or otherwise, (b) investigate,
assert or prosecute any claims and defenses or causes of action against the SHL or its respective
representatives, (c) prevent, hinder or otherwise delay the SHL’s assertion, enforcement or
realization against or upon the Cash Collateral or the Collateral in accordance with the DIP
Documents, the Prepetition Loan Documents, or this Interim Order, (d) seek to modify any of the
rights granted to the SHL, hereunder or under the DIP Documents or the Prepetition Loan
Documents without the SHL’s prior written consent, (e) attempt to directly or indirectly modify
any of the rights granted to SHL, (f) pay any amount on account of any claims arising prior to the
Petition Date unless such payments are (i) approved by an order of this Court and (ii) in accordance
with the DIP Documents.

       12.     No Marshaling. Neither SHL nor any of the Collateral shall be subject to the
doctrine of marshaling. Without limiting the generality of the foregoing, subject to the entry of the
Final Order, no party other than SHL shall be entitled, directly or indirectly, to direct the exercise
of rights or remedies or to seek (whether by order of this Court or otherwise) to marshal or
otherwise control the enforcement of the DIP Liens, Prepetition Liens or Replacement Liens.

       13.     Equities-of-the-Case Waiver. SHL shall be entitled to all of the rights and benefits
of section 552(b) of the Bankruptcy Code, and no person may assert an "equities of the case" claim
under section 552(b) of the Bankruptcy Code against SHL with respect to any proceeds, product,
offspring, or profits of any of the Collateral, or otherwise.

       14.     No Waiver. SHL shall not be deemed to have suspended or waived any of their
rights or remedies under this Order, the DIP Documents, the Prepetition Loan Documents, or


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applicable nonbankruptcy law unless such suspension or waiver is in writing, signed by a duly
authorized officer of SHL, as applicable, and directed to Debtors. No failure of SHL to require
strict performance by Debtors (or by any Trustee) of any provision of this Order shall waive, affect
or diminish any right of SHL thereafter to demand strict compliance and performance therewith,
and no delay on the part of SHL in the exercise of any right or remedy under this Order, the DIP
Documents, the Prepetition Loan Documents or applicable nonbankruptcy law shall preclude the
exercise of any right or remedy. Further, this Order shall not constitute a waiver by SHL of any of
their rights under the DIP Documents, the Prepetition Loan Documents, the Bankruptcy Code or
applicable nonbankruptcy law, including, without limitation their right to later assert: (1) that, any
of their interests in the Collateral lack adequate protection within the meaning of Bankruptcy Code
sections 362(d) or 363(e) or any other provision thereof; or (2) a claim under Bankruptcy Code
section 507(b).

       15.     "Responsible Person." By taking any actions pursuant to this Order, SHL shall not:
(a) be deemed to be in control of the operations or liquidation of Debtors; or (b) be deemed to be
acting as a "responsible person" with respect to the operation, management or reorganization of
Debtors.

       16.     Release. Upon the earlier of the Termination Date and any release of the DIP Liens
and Prepetition Liens, Debtors shall execute and deliver to SHL a general release of any and all
claims and causes of action that could have been asserted or raised under or in connection with the
DIP Documents and Prepetition Loan Documents or any acts or omissions after the Filing Date.

       17.     Amendments. Debtors and SHL may enter into amendments or modifications of
the DIP Documents and Prepetition Loan Documents or the Budget without further notice and
hearing or order of this Court; provided, that (a) such modifications or amendments do not
materially and adversely affect the rights of any creditor or other party-in-interest and (b) notice
of any such amendment or modification is filed with this Court.

       18.     Proof of Claim. SHL shall not be required to file a proof of claim with respect to
any of the Prepetition Debt and the stipulations and findings set forth in this Order shall constitute
an informal proof of claim in respect thereof.



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       19.     Binding Effect. Except as provided herein, this Order shall be binding on all parties
in interest in the Cases and their respective successors and assigns, including any trustee, except
that any trustee shall have the right to terminate this Order after notice and a hearing. If this Order
does not become a final nonappealable order, if the Debtors or a trustee terminates this Order, or
if any of the provisions of the Order are hereafter modified, amended, vacated or stayed by
subsequent order of this Court or any other court, such termination or subsequent order shall not
affect: (a) subject to of the other provisions of this Order, the stipulations, representations, and
findings contained in this Order and the relief granted by and the releases contained in this Order;
and (b) the priority, validity, enforceability or effectiveness of any lien, security interest or other
benefit or claim authorized hereby with respect to Cash Collateral used prior to the effective date
of such termination or subsequent order. All such liens, security interests, claims, and other
benefits shall be governed in all respects by the original provisions of this Order, and SHL shall
be entitled to all the rights, remedies, privileges, and benefits granted hereto, including the liens
and priorities granted herein. Except as otherwise explicitly set forth in this Order, no third party
is intended to be, or shall be deemed to be, a third party beneficiary of this Order.

       20.     Notice of Final Hearing. The Final Hearing is scheduled for [______________],
2020, and may be continued from time to time without further notice other than that given in open
court. Debtors are directed to immediately serve a copy of this Order and the proposed Final Order
by first class mail, postage prepaid, on counsel for SHL, Debtors' twenty (20) largest unsecured
creditors, and the United States Trustee, which service shall constitute adequate and proper notice
of the Final Hearing. Any objection to the Order must be filed with the Court and received by
counsel for the Debtors, SHL, and the United States Trustee no later than seventy-two (72) hours
prior to the commencement of the Final Hearing. Any timely and properly filed and served
objection will be heard at the Final Hearing. To participate through CourtSolutions, you must make
a reservation in advance no later than 3:00 p.m., one business day before the date of the hearing.

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Reservations should be arranged online at https://www.court-solutions.com/. If a party is unable
to register online, a reservation may also be made by telephone at (917) 746−7476.

                                                ###
Submitted By:
Joshua W. Dobin, Esquire
Florida Bar No. 93696
jdobin@melandbudwick.com
MELAND BUDWICK, P.A.
Counsel for Debtors
3200 Southeast Financial Center
200 South Biscayne Boulevard
Miami, Florida 33131
Telephone:    (305) 358-6363
Telefax:      (305) 358-1221

Copies Furnished To:
Joshua W. Dobin, Esquire, is directed to serve copies of this Order on all parties in interest and
to file a Certificate of Service.




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                      EXHIBIT 1

                       BUDGET

                      [attached]
                                                                                                                                 IT'SUGAR, LLC




                                                                                                                                                                                                                                                              EXHIBIT 1
                                                                                                                              13 Week Cash Budget
                                       Week #      1            2            3            4            5            6           7            8            9          10          11          12          13
                                                  Sep         Oct           Oct          Oct          Oct         Nov          Nov         Nov          Nov         Dec          Dec        Dec         Dec
                                                Week 5      Week 1        Week 2       Week 3       Week 4       Week 1      Week 2       Week 3       Week 4      Week 1      Week 2      Week 3      Week 4
                                   Week ended   9/26/20     10/3/20      10/10/20     10/17/20     10/24/20     10/31/20     11/7/20     11/14/20     11/21/20    11/28/20     12/5/20    12/12/20    12/19/20
         Receipts:
         Projected Store Sales                $   377,457 $    870,741 $    870,741 $    870,741 $    870,741 $    810,667 $   810,667 $    810,667 $    810,667 $ 1,008,831 $ 1,008,831 $ 1,008,831 $ 1,160,156
         Projected Wholesale Sales                 19,000       17,936       17,936       17,936       17,936       27,363       27,363      27,363       27,363       8,530        8,530      8,530       9,809
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         Projected e-commerce & Partnering         17,120       74,575       74,575       74,575       74,575      125,949     125,949      125,949      125,949      98,546       98,546     98,546     110,185
         Projected New Temp Store Sales               -            -            -            -            -         66,832       66,832      66,832       66,832      76,261       76,261     76,261      87,701
         Sales Tax Collected                       18,873       43,537       43,537       43,537       43,537       40,533       40,533      40,533       40,533      50,442       50,442     50,442      58,008
         DIP Financing                                       2,000,000                                           2,000,000
           Total Receipts                     $   432,450 $ 3,006,789 $ 1,006,789 $ 1,006,789 $ 1,006,789 $ 3,071,344 $ 1,071,344 $ 1,071,344 $ 1,071,344 $ 1,242,609 $ 1,242,609 $ 1,242,609 $ 1,425,858
         Disbursements:
         Sales Taxes Paid                                                                                               $   (188,728)                                             $     (174,148)                                             $     (162,133)
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         Inventory Purchases                                              $     (342,529) $     (342,529) $   (342,529) $   (342,529) $   (393,618) $   (393,618) $     (393,618) $     (393,618) $   (514,113) $   (514,113)   $   (514,113) $     (514,113)
         Store Payroll                                                    $     (476,391)                 $   (476,391)               $   (495,656)               $     (495,656)                 $   (495,656)                 $   (495,656)
         Corporate Payroll                                                $     (210,623)                 $   (210,623)               $   (210,623)               $     (210,623)                 $   (210,623)                 $   (210,623)
         Severances                                                       $      (12,981)                 $    (12,981)               $    (15,331)               $       (7,692)                 $     (7,692)                 $     (7,692)
         Shared Services Allocation                                                       $      (35,000)                                           $    (35,000)                                               $    (35,000)
         Store Controllables                                                     (40,755)        (40,755)      (40,755)      (40,755)      (41,354)      (41,354)        (41,354)        (41,354)      (59,575)      (59,575)        (59,575)        (59,575)
         Corporate Controllables                                                 (33,874)        (33,874)      (33,874)      (33,874)      (37,789)      (37,789)        (37,789)        (37,789)      (31,684)      (31,684)        (31,684)        (31,684)
Doc 34




         Capex Funding - Temp Stores                                             (95,000)        (95,000)      (95,000)      (95,000)     (158,525)     (158,525)       (158,525)       (158,525)     (117,049)     (117,049)
         Occupancy (1)                                                                                      (1,567,727)                 (1,626,058)                                                               (1,746,900)
           Subtotal Operating Costs                      $          -     $ (1,212,154) $       (547,158) $ (2,779,881) $   (700,887) $ (2,978,954) $   (666,286) $ (1,345,257) $       (805,434) $ (1,436,393) $ (2,504,321)   $ (1,319,344) $     (767,505)
Case 20-20259-RAM




         Filing Fees & Expenses:
         Legal - M&B                                                                                                                       (80,000)                                                    (80,000)
         US Trustee                                                                                             (4,750)
         Financial Advisor - Algon                                                                                                        (120,000)                                                   (120,000)
         Creditor's Committee Counsel (2)                                                                                                                                                              (16,000)
                    Subtotal Filing Fees                 $          -     $           -     $        -   $      (4,750) $        -   $    (200,000) $        -      $        -      $        -   $    (216,000) $        -      $        -      $        -
                    Total Disbursements                  $          -     $ (1,212,154) $       (547,158) $ (2,784,630) $   (700,887) $ (3,178,954) $   (666,286) $ (1,345,257) $       (805,434) $ (1,652,393) $ (2,504,321) $ (1,319,344) $       (767,505)
              Operating Cash Recap                           9/26/20     10/3/20    10/10/20    10/17/20    10/24/20    10/31/20     11/7/20    11/14/20    11/21/20    11/28/20     12/5/20     12/12/20     12/19/20
              Beginning Cash Balance                     $     500,000 $   932,450 $ 2,727,085 $ 3,186,716 $ 1,408,874 $ 1,714,776 $ 1,607,166 $ 2,012,224 $ 1,738,310 $ 2,004,220 $ 1,594,437 $    332,725 $    255,991
              Change in Cash                             $    432,450 $       1,794,635 $        459,631 $ (1,777,842) $     305,902 $    (107,611) $    405,058 $      (273,914) $      265,910 $    (409,783) $ (1,261,712) $      (76,734) $     658,353
         Cash Balance - End of Week                      $    932,450 $       2,727,085 $       3,186,716 $   1,408,874 $   1,714,776 $   1,607,166 $   2,012,224 $     1,738,310 $     2,004,220 $   1,594,437 $    332,725 $      255,991 $       914,344
            (1) Occupancy payments are subject to rejections and modifications of leases.
            (2) To be determined, if applicable.
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                          LOAN AND SECURITY AGREEMENT

       LOAN AND SECURITY AGREEMENT (this “Amendment”), dated as of September
__, 2020, by and among IT’SUGAR LLC, a Delaware limited liability company (“IT’Sugar”),
IT’SUGAR ATLANTIC CITY LLC, a Delaware limited liability company (“Atlantic City”),
IT’SUGAR FLGC LLC, a Florida limited liability company (“FLGC,” and collectively with
IT’Sugar and Atlantic City, the “Prepetition Obligors”), IT’SUGAR FL I, LLC, a Delaware
limited liability company (“FLI” and collectively with the Prepetition Obligors, the “Debtors”)
and SHL HOLDINGS, INC., a Florida corporation (“SHL”).

                                        R E C I T A L S:

       A.      It’Sugar was indebted to Bank of America N.A. (“Bank”) as evidenced by that
certain Credit Agreement dated August 24, 2018, and First Amendment thereto dated February
28, 2020, by and between It’Sugar and Bank (as so amended, the “Prepetition Credit
Agreement”), evidencing a revolving line of credit in the principal amount of $4,000,000.00 (the
“Prepetition Line of Credit”), which could be increased to $6,000,000.00 upon the request of
It’Sugar.

       B.     It’Sugar’s obligations under the Prepetition Line of Credit were guaranteed by
Atlantic City and FLGC pursuant to the terms of that certain Continuing and Unconditional
Guaranty dated August 24, 2018, made by Atlantic City and FLGC in favor of the Bank (the
“Guaranty”).

        C.    The Prepetition Obligors’ respective obligations under the Credit Agreement and
Guaranty are secured by, among other things, that certain Security Agreement dated August 24,
2018, by and among the Prepetition Obligors and the Bank (the “Prepetition Security
Agreement”), granting the Bank a security interest in the personal property assets of the
Prepetition Obligors described therein. The Bank’s security interest was perfected pursuant to
UCC-1 Financing Statements filed (i) with respect to It’Sugar and Atlantic City, with the
Delaware Department of State on August 24, 2018 under filing #20185865726, and (ii) with
respect to FLGC, with the Florida Secured Transactions Registry on August 24, 2018 under
filing #201806304765 (the “UCC-1s”).

        D.     The Prepetition Credit Agreement, the Guaranty, the Prepetition Security
Agreement, the UCC-1s and all other written documents executed in connection with the
Prepetition Line of Credit, together with any and all written renewals, modifications and/or
extensions thereof are collectively referred to as the “Prepetition Loan Documents”.

       E.       The Bank’s rights under the Prepetition Loan Documents were assigned without
recourse to the SHL pursuant to a Loan Sale and Assignment Agreement, dated April 7, 2020,
and the other assignment documents and instruments executed in connection with the
Assignment, and by reason thereof SHL is now the holder of such Prepetition Loan Documents
and has all the rights and obligations of the Bank thereunder.

        F.      The Prepetition Credit Agreement has been amended from time to time, including
an increase of the principal balance advanced on the Prepetition Line of Credit to $6,000,000.00.


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                                                                                       EXHIBIT B
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       G.     As of the Petition Date, the Prepetition Obligors are liable for payment of the
Prepetition Debt (defined below) in an amount not less than $6,216,362.00.

       H.      On September 22, 2020, each of the Prepetition Obligors, along with the their
affiliate IT’Sugar FL I, LLC (“FL I,” collectively with the Prepetition Obligors, the “Debtors”)
filed petitions for relief under Chapter 11of the Bankruptcy Code in the United States
Bankruptcy Court, Southern District of Florida (the “Bankruptcy Court”) styled as follows: (1) In
re IT’Sugar FI I, LLC, Case No. 20-20259-RAM (2) IT’Sugar, LLC, Case No. 20-20261-RAM,
(3) IT’Sugar Atlantic City, LLC, Case No. 20-20263-RAM and (4) IT’Sugar FLGC, LLC, Case
No. 20-20264-RAM (collectively, the “Bankruptcy Cases”).

       I.     The Debtors have requested that SHL extend financing to the Debtors in
connection with the Bankruptcy Cases to facilitate its reorganization.

       J.    SHL is willing to make loans and extend credit to the Debtors, subject to the
terms and conditions set out herein and subject to the terms and conditions set forth in the
Financing Order and any other orders of the Bankruptcy Court approving the proposed financing
by SHL.

       K.     The parties desire to enter into this Agreement and to memorialize their
agreements with respect to the matters set forth.

                                       A G R E E M E N T:

       FOR AND IN CONSIDERATION of the mutual covenants herein and good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the Debtors and
SHL agree as follows:

       1.       Recitals. The foregoing recitals are confirmed by the parties as true and correct
and are incorporated herein by reference. The recitals are a substantive part of this Agreement.
Specifically, the Debtors acknowledge the Prepetition Debt.

       2.     Definitions. Unless the context otherwise requires, the following terms when used
in this Agreement will have the meanings set forth below:

“Administrative Expense Advance” means the portion of the DIP Facility advance for the
payment of (i) fees and expenses incurred by professionals retained by Debtors and the
Committee (if any), all up to the amount set forth in the Budget; (ii) fees due to the United States
Trustee pursuant to 28 U.S.C. Section 1930(a)(6); and (iii) fees due the Clerk of the Court.

"Administrative Expense Carve Out" means the carve out from SHL’s super-priority
administrative expense claim in order to allow the Administrative Expense Advance to be used
as set forth in the Budget.

"Bankruptcy Code" means Title 11 of the United States Code entitled "Bankruptcy," as now and
hereafter in effect, or any successor statute.

"Budget" means Debtors’ budget attached as “Exhibit A”.

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"Business Day" means any day excluding Saturday, Sunday, and any day which is a legal
holiday under the laws of the State of Florida or is a day on which banking institutions located in
such state are authorized or required by law or other governmental action to close.

“Collateral” means the following property now owned or hereafter acquired by the Debtors:

               (a) All accounts, and all chattel paper, instruments, deposit accounts, letter of
                   credit rights, and general intangibles related thereto; and all returned or
                   repossessed goods which, on sale or lease, resulted in an account.

               (b) All inventory.

               (c) All equipment and fixtures now owned or hereafter acquired by the Debtors.

               (d) All of the Debtors’ deposit accounts wherever located. The Collateral shall
                   include any renewals or rollovers of the deposit accounts, any successor
                   accounts, and any general intangibles and choses in action arising therefrom
                   or related thereto.

               (e) All instruments, chattel paper, documents, certificates of deposit, securities
                   and investment property of every type.

               (f) All general intangibles. The Collateral shall include all good will connected
                   with or symbolized by any of such general intangibles.

               (g) All negotiable and nonnegotiable documents of title covering any Collateral.

               (h) All accessions, attachments and other additions to the Collateral, and all tools,
                   parts and equipment used in connection with the Collateral.

               (i) All substitutes or replacements for any Collateral, all cash or non-cash
                   proceeds (including insurance proceeds), products, rents and profits of the
                   Collateral, and all income, benefits and property receivable on account of the
                   Collateral, and all supporting obligations covering any Collateral.

               (j) All books, data and records pertaining to any Collateral, whether in the form
                   of a writing, photograph, microfilm or electronic media, including but not
                   limited to any computer readable memory and any computer software
                   necessary to process such memory.

"Committee" means any creditors or equity security holders committee appointed in any Chapter
11 case by the U.S. Trustee.

“Debt" means, as of any applicable date of determination and as to any Person, all items of
indebtedness, obligation, or liability of such Person, whether matured or unmatured, liquidated or
unliquidated, direct or indirect, absolute or contingent, joint or several, that should be classified
and presented as a liability on a balance sheet prepared in accordance with GAAP, including



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without limitation any billings in excess of costs and estimated earnings on Work that has not
been completed.

"Event of Default" means any one or more of the following occurring after the date of this
Agreement that is determined by SHL to constitute an Event of Default on or after its
occurrence:

              (a) Debtors have failed or refused to comply with any provisions of the Financing
                  Order or have failed or refused to perform any obligation under this
                  Agreement; or

              (b) the occurrence of a default under any document relating to any Debt of
                  Debtors; or the foreclosure or notice of foreclosure by any lender or holder of
                  any Debt of Debtors on any collateral that secures any Debt of Debtors; or

              (c) Debtors allow a judgment creditor to obtain possession of any of the
                  Collateral by any means, including, but without limitation, levy, distraint,
                  replevin, or self-help; or

              (d) if Debtors violate, breach, or fail to adhere to any of the terms, conditions, or
                  covenants of any of the Loan Documents or the Prepetition Loan Documents;
                  or

              (e) if the Bankruptcy Cases are dismissed, suspended, or converted to cases under
                  Chapter 7 of the Bankruptcy Code or a trustee will be appointed in the
                  Bankruptcy Cases; or an application will be filed by Debtors for the approval
                  of, or there will arise, any other claim not contemplated by this Agreement
                  having priority senior to or pari passu with the claims of SHL under this
                  Agreement or any other claim having priority over any or all administrative
                  expenses of the kind specified in Section 503(b) or 507(b) of the Bankruptcy
                  Code; or

              (f) if the Bankruptcy Court enters an order (granting relief from the automatic
                  stay applicable under Section 362 of the Bankruptcy Code to any holder (other
                  than SHL) of any security interest in the Collateral; or

              (g) any Person (including any Committee) will successfully prosecute any action,
                  suit, or other proceeding or contested matter challenging the validity,
                  perfection, or priority of any Liens of SHL, or the validity or enforceable of
                  any of the Loan Documents or the Prepetition Loan Documents, or asserting
                  any avoidance claims against SHL or seeking to recover any monetary
                  damages from SHL; or

              (h) the determination of Debtors, whether by vote of its managers, members, or
                  otherwise, to suspend the operation of Debtors' business in the ordinary
                  course, liquidate all or substantially all of Debtors' assets, or the filing of a
                  motion or other application in the Bankruptcy Cases, seeking authority to do
                  any of the foregoing; and

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               (i) this Agreement or any related document will be terminated, revoked, or
                   declared void or unenforceable or challenged by Debtors.

               Notwithstanding anything in the Prepetition Loan Documents to the contrary, no
               Event of Default will be deemed to have occurred as a result of the filing of the
               Bankruptcy Cases.

"Financing Order" means an interim order and/or a financing order that is entered by the
Bankruptcy Court, following proper notice and a hearing thereon, which is in all respects
satisfactory to SHL and which, among other things, authorizes the incurrence by Debtors of post-
petition secured and super administrative priority Debt as contemplated by this Agreement and
affords adequate protection of Liens in favor of SHL.

"GAAP" means generally accepted accounting principles set forth in the opinions and
pronouncements of the Accounting Principles Board and the American Institute of Certified
Public Accountants and statements and pronouncements of the Financial Accounting Standards
Board.

"Laws" means all ordinances, statutes, rules, regulations, orders, injunctions, writs, or decrees of
any government or political subdivision or agency thereof, or any court or similar entity
established by any thereof.

“LIBOR Daily Floating Rate” is a fluctuating rate of interest which can change on each Banking
Day. The rate will be adjusted on each Banking Day to equal the London Interbank Offered Rate
(or a comparable or successor rate which is approved by SHL) for U.S. Dollar deposits for
delivery on the date in question for a one month term beginning on that date. SHL will use the
London Interbank Offered Rate as published by Bloomberg (or other commercially available
source providing quotations of such rate as selected by the SHL from time to time) as determined
at approximately 11:00 a.m. London time two (2) London Banking Days prior to the date in
question, as adjusted from time to time in the SHL’s sole discretion for reserve requirements,
deposit insurance assessment rates and other regulatory costs. If such rate is not available at such
time for any reason, then the rate will be determined by such alternate method as reasonably
selected by SHL. A “Banking Day” is a day on which banks in London are open for business and
dealing in offshore dollars. If at any time the LIBOR Daily Floating Rate is less than zero, such
rate shall be deemed to be zero for the purposes of this Agreement.

"Lien" means any mortgage, security interest, lien, pledge, charge, proxy, voting trust or
arrangement, encumbrance, lease, sublease, license, or other rights of use by another or other
interest of any character whatsoever.
"Loan Documents" means this Agreement, the promissory note, and any other instruments,
agreements or other documents entered into in connection herewith

"Material Adverse Effect" means, relative to any occurrence of whatever nature (including the
adverse determination in any litigation, arbitration, or governmental investigation or proceeding),
(i) a material adverse effect on the financial condition, business, or business operations of
Debtors taken as a whole, or (ii) a material impairment of the ability of Debtors to satisfy its



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obligations to SHL under the Loan Documents or the Prepetition Loan Documents, or (iii) a
material adverse impact on SHL’s security interest in the Collateral.

"Obligations" means and includes the punctual payment and performance of parties’ obligations
under this Agreement and the other Loan Documents, and all loans, advances (including, without
limitation, interest payments to prior secured parties, mortgagees, or lienors, or for Taxes, levies,
insurance, rent, repairs to, or maintenance or storage of any of the Collateral (provided, however,
nothing herein will be construed as a requirement or commitment that SHL will make any
advances).

"Permitted Liens" means: (a) Liens of governmental agencies for taxes, assessments, or
governmental charges not yet past due or that are being contested in good faith by appropriate
proceedings and for which adequate reserves have been established in accordance with GAAP;
(b) inchoate non perfected mechanics', workmen's, and repairmen's Liens or other like Liens
arising by operation of law in the ordinary course of business of Debtor and not past due unless
contested in good faith by appropriate proceedings; and (c) Liens on individual specific pieces of
equipment that are evidenced by UCC financing statements validly perfected prior to the Petition
Date.

"Person" means any entity, whether an individual, trustee, corporation, partner, joint stock
company, unincorporated organization, business association or firm, joint venture, a government
or any agent or instrumentality or political subdivision thereof.

"Petition Date" means September 22, 2020 (the date on which Debtors filed for bankruptcy
pursuant to the Bankruptcy Code).

“Prepetition Debt” means (a) All indebtedness or obligations under the Prepetition Loan
Documents as of the Petition Date, including all "Indebtedness" (as defined in the Prepetition
Security Agreement), and all fees, costs, interest, and expenses as and when due and payable
pursuant to the Prepetition Loan Documents, plus (b) all amounts allowable under Section 506(b)
of the Bankruptcy Code.

“Prepetition Liens” means SHL’s asserted security interests in the Collateral under the
Prepetition Loan Documents.

"Proceeds" means whatever is receivable or received when Collateral or proceeds are sold,
collected, exchanged, or otherwise disposed of, whether such disposition is voluntary or
involuntary, and includes, without limitation, all rights to payment, including returned or rebate
of premiums, with respect to any insurance relating thereto.

"Records" means correspondence, memoranda, tapes, books, discs, paper, magnetic storage, and
other documents or information of any type, whether expressed in ordinary or machine language.

“Replacement Liens” means SHL’s Liens in the Collateral granted pursuant to the Financing
Order.




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"Tax" means any present or future tax, levy, impost, duty, charge, fee, deduction, or withholding
of any nature and whatever called, by whomsoever, on whomsoever and wherever imposed,
levied, collected, withheld, or assessed.

"UCC" means the Uniform Commercial Code as in effect on the date hereof in the State of
Florida as it may be amended from time-to-time; provided that if by reason of mandatory
provisions of law, the perfection or the effect of perfection or non-perfection or priority of a
security interest in any Collateral is governed by any state other than Florida, "UCC" means the
Uniform Commercial Code as in effect in such other jurisdiction for purposes of the provisions
hereof relating to such perfection or effect of perfection or non-perfection.

       3.       DIP Facility. Subject to the terms and conditions of this Agreement and the
Financing Order (including SHL’s right to cease making loans to the Debtors), and subject to the
satisfaction of the conditions precedent contained in this Agreement and the Financing Order,
SHL agrees to make loans and advances (each, an “Advance” and collectively, the "Advances")
to or on behalf of Debtors in the aggregate principal amount of four million dollars
($4,000,000.00) to the extent required to pay, when due, those expenses enumerated in the
Budget. Debtors will execute a promissory note to evidence the advances and loans to be made
under this Agreement. Said loans and advances will be repaid to SHL as set forth in this
Agreement and in the promissory note. So long as there exists no Event of Default and subject to
the terms of this Agreement the Advances shall be made to the Debtors, as appropriate, in the
amounts and in accordance with the schedule set forth in the Budget. Interest shall accrue on the
outstanding principal amount of each Advance at a rate per annum equal to LIBOR Daily
Floating Rate plus one and one-half percent (1.50%). Upon the occurrence of any Event of
Default, interest on all amounts not paid when due shall accrue and be payable at a rate per
annum equal to the highest rate permitted by applicable law. Any imposition of default interest
shall be made retroactive to the date of the occurrence of the applicable Event of Default. All
interest on the Advances will be computed on the basis of the actual number of days elapsed over
a 360-day year.

       4.       Superpriority Administrative Expense Claim. Advances occurring from and after
the Petition Date will constitute a super priority administrative expense in accordance with
Sections 507(a)(1) and 503(b) of the Bankruptcy Code, which will have priority and payment
over all other administrative expenses and unsecured claims of any kind or nature, whether now
or hereafter arising including all administrative expenses of the kind specified in or arising or
ordered under Sections 105, 326, 328, 503(b), 506(e), 507 (b), 546(c), and 1114 of the
Bankruptcy Code. Notwithstanding the foregoing, the super priority administrative expense
claims of SHL will be subordinate to the Administrative Expense Carve Out. Debtors will not
incur, create, assume, suffer to exist or permit or make any application or motion for any other
super priority claim or Lien which is pari passu with or senior to the claims of SHL under the
Loan Documents, other than as expressly contemplated and permitted under this Agreement.

       5.      Security Interest. As security for the payment and performance of all Obligations,
now existing or hereafter incurred, matured or unmatured, direct or contingent, including all
extensions and renewals thereof, Debtors, jointly and severally, hereby assign to SHL and grants
to SHL a Lien upon and security interest in the Collateral. The Collateral, together with all of
Debtor's other property of any kind, both real and personal, held by, assigned to, mortgaged to,

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or conveyed in favor of SHL, whether prior to or after the Petition Date, will stand as one
general, continuing collateral security for all Obligations and may be retained by SHL until all
Obligations have been paid and satisfied in full.

        The foregoing Liens will be first and prior Liens except for any Permitted Liens which
have priority or would have priority by the operation of Law. SHL reserves the right to challenge
the priority of any Lien of any other Person. For the avoidance of doubt, SHL’s Prepetition Liens
and Replacement Liens will be subordinate to the foregoing Liens.

        At the request of SHL, Debtors will execute and deliver to SHL documentation
satisfactory to SHL evidencing the security interests and Liens and providing for the perfection
of such Liens. The automatic stay provisions of Section 362 of the Bankruptcy Code are
modified to permit the execution, delivery, and filing of such documentation; provided, however,
that no such documentation will be required as a condition to the validity, priority, or perfection
of Liens created pursuant to this Agreement, which Liens will be deemed valid and properly
perfected upon entry of the Financing Order approving this Agreement. Each Debtor irrevocably
makes, constitutes, and appoints SHL (and all other Persons designated by SHL for the purpose)
as Debtors' true and lawful agent and attorney in fact to sign Debtors' names on any such
agreements, instruments, and documents referred to in this section and to deliver such
agreements, instruments, and documents to such Persons as SHL in its sole and absolute
discretion may elect. Debtors agree to pay on demand any recording tax, filing fees, or other
costs incurred by SHL in connection with recording or filing any documentation requested in this
section, provided, that, SHL advances the amount of such recording or filing fee.

         6.     Existence and Authority; Enforceability of this Agreement. Debtors are a
registered entity duly organized, validly existing, and in good standing under the laws of the
State of Delaware and the State of Florida, as applicable. Debtors will maintain their limited
liability existence or registered status (in good standing where appropriate under state law) and
remain or become duly qualified or licensed (and in good standing where appropriate under state
law) as a foreign limited liability company in each jurisdiction in which the conduct of its
businesses requires such qualification or license except where the failure to be so qualified could
not reasonably be expected to have a Material Adverse Effect.

        The execution and performance of this Agreement will not violate the governing
document provisions of the Debtors, or violate any laws or result in a default under any contract,
agreement, or instrument to which Debtors are a party or by which Debtors or their property is
bound, except for such violations or defaults that would not have a Material Adverse Effect.
Debtors have the power and authority to enter into and perform this Agreement and the Loan
Documents, and to incur the obligations herein and therein provided for, and have taken all
corporate or other action necessary to authorize the execution, delivery, and performance of this
Agreement and the Loan Documents. Upon the execution of this Agreement and the other Loan
Documents by Debtors, this Agreement and the Loan Documents will be valid and binding
against Debtors, enforceable against such parties in accordance with the terms thereof.

        7.     Termination of Automatic Stay. Any Order entered approving this Agreement
will provide that the automatic stay, including specifically, but not limited to, the stay imposed
by Section 362 of the Bankruptcy Code, is immediately and absolutely lifted and terminated

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without the need of further order by Court as to the exercise by SHL of any and all of its rights
under the terms of this Agreement.

       8.      Books and Records. Debtors will permit SHL at all times during regular business
hours to free access, with twenty four (24) hours advance notice, to the Records and similar
items of Debtors including, without limitation, its Records, computer software, and other
computer stored information, and all plans, specifications, drawings, surveys, and related
materials, and computer software, licenses, copyrights, patents, and other intellectual property,
for the purpose of using, examining, copying, or reproducing same for the purpose of examining,
copying, or reproducing the same. Debtors authorize and requests any and all depositories in
which funds of Debtors may be deposited to furnish to SHL statements of account and any other
documents reflecting receipts and disbursements and any Person doing business with Debtors is
authorized to furnish any information requested by SHL concerning any transaction. SHL may
furnish copies of any and all statements, agreements, and financial statements and any
information which it now has or may obtain concerning Indemnitors to other Persons or
companies during the investigation of claims that may be, or have been, asserted against SHL.

       9.     Acceleration; Deposit of Collateral; Remedies. Upon the occurrence of any Event
of Default, SHL may, at its option, immediately declare all Obligations to be immediately due
and payable, whereupon the same will become forthwith due and payable, without presentment,
demand, protest, or any notice of any kind.

        Upon the occurrence of any Event of Default, all Collateral held by or assigned to SHL
by Debtors may be used by SHL at any time in payment of any Obligations; SHL will have, in
addition to the rights and remedies given by the Loan Documents, all those allowed by all
applicable Laws, including, but without limitation, the UCC as enacted in any jurisdiction in
which any Collateral may be located. After deducting from the Proceeds of sale or other
disposition of the Collateral all expenses, including all expenses for legal services (including
allocated costs of in-house counsel), such Proceeds will be applied toward the satisfaction of the
Obligations. Any remainder of the Proceeds after satisfaction in full of the Obligations will be
distributed as required by applicable Laws.

        Notice of any sale or other disposition will be given to Debtors at least ten (10) days
before the time of any intended public sale or of the time after which any intended private sale or
other disposition of the Collateral is to be made which Debtors hereby agree will be reasonable
notice of such sale or other disposition. At any such sale, the Collateral, or portions thereof, to be
sold may be sold in one lot as an entirety or in separate lots, as SHL may, in its sole and absolute
discretion, determine. Debtors agree to assemble, or to cause to be assembled, at their own
expense, the Collateral under its control or ownership at such place or places as SHL will
designate. At any such sale or other disposition, SHL may to the extent permissible under
applicable Laws, purchase the whole or any part of the Collateral, free from any right of
redemption on the part of the Debtors, which right is hereby expressly waived and released.

        SHL will not be liable and Debtors agree to make no claim against SHL for decrease in
value lost to any Collateral, however caused, other than for willful reckless misconduct or gross
negligence. SHL will not be obligated to make any sale of the Collateral if it will determine not
to do so, regardless of the fact that notice of sale of the Collateral may have been given. SHL

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may, without notice or publication, adjourn any public or private sale or cause the same to be
adjourned from time to time by announcement at the time and place fixed for sale, and such sale
may, without further notice, be made at the time and place to which the same was so adjourned.
In case sale of all or any part of the Collateral is made on credit or for future delivery, the
Collateral so sold may be retained by SHL until the sale price is paid by the purchaser or
purchasers thereof, but SHL will not incur any liability in case any such purchaser or purchasers
will fail to take up and pay for the Collateral so sold and, in case of any such failure, such
Collateral may be sold again upon like notice.

        As an alternative to exercising the power of sale herein conferred, SHL may proceed by a
suit or suits at law or in equity to foreclose this Agreement and to sell the Collateral, or any
portion thereof, pursuant to a judgment or decree of a court or courts of competent jurisdiction.
The costs, including reasonable legal fees of SHL, will be added to any outstanding indebtedness
and paid by Debtors.

       Without limiting the generality of any of the rights and remedies conferred upon SHL,
SHL may upon the occurrence of an Event of Default, to the full extent permitted by applicable
Laws (including without limitation seeking relief from the automatic stay, if applicable):

       (a) Enter upon the premises of Debtors, exclude therefrom Debtors, and take immediate
possession of the Collateral, either personally or by means of a receiver appointed by a court of
competent jurisdiction, using all necessary and lawful self-help to do so;

      (b) at SHL’s option, use, operate, manage, and control the Collateral in any lawful
manner;

       (c) collect and receive all rents, income, revenue, earnings, issues, and profits therefrom;
and

        (d) maintain, repair, renovate, alter, or remove the Collateral as SHL may determine in its
discretion.

       10.    Authority of SHL to Elect Remedies. Each right, remedy, and power of SHL
provided in this Agreement, the Loan Documents, or by law, equity, or statute will be
cumulative, and the exercise by SHL of any right, remedy, or power will not preclude SHL’s
simultaneous or subsequent exercise of any or all other rights, powers, or remedies. The failure
or delay by SHL to exercise any right, power, or remedy will not waive any right, power, or
remedy. Except as required herein, no notice or demand upon SHL by Debtors will limit or
impair SHL's right to take any action under this Agreement or to exercise any right, power, or
remedy. All remedies hereunder are cumulative and are not exclusive of any other remedies
provided by law.

       11.     Condition Precedent to Effectiveness of this Agreement. The effectiveness of this
Agreement is subject to the condition precedent that SHL will have received on or before the day
hereof each of the following, in form and substance satisfactory to SHL and its counsel:

               (a) This Agreement and each of the other Loan Documents duly executed by
                   Debtors.

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               (b) no orders will have been entered by the Bankruptcy Court which SHL
                   reasonably determines are likely to have a Material Adverse Effect;

               (c) all of the "first day orders" presented to the Bankruptcy Court at or about the
                   time of the commencement of the Bankruptcy Cases will be satisfactory in
                   form and substance to SHL; and

               (d) receipt of a copy of the duly executed Financing Order (an interim order to be
                   followed in due course by a final order) entered by the Bankruptcy Court, in
                   form acceptable to SHL;without limiting the generality of the foregoing, the
                   Financing Order will (i) ratify the Prepetition Obligors' obligations under the
                   Prepetition Loan Documents; (ii) authorize Debtors to enter into this
                   Agreement, and all other documents contemplated by this Agreement; (iii)
                   confirms the waivers and releases contained infra.; and (iv) provide SHL
                   adequate protection.

       SHL may waive compliance with any of the foregoing, with or without notice to Debtors.

       12.     Notices. Any notice, request, demand, or other communications required,
permitted or otherwise contemplated by this Agreement will be in writing and either delivered
personally, sent by regularly scheduled overnight air courier service, or postage prepaid certified
United States mail, return receipt requested, to the following addresses:

       SHL:                   SHL Holdings, Inc.
                              401 East Las Olas Boulevard, Suite 800
                              Fort Lauderdale, Florida 33301

       With a copy to:        Stearns Weaver Miller
                              150 West Flagler Street, Suite 2200
                              Miami, Florida 33130
                              Attn.: Eric J. Silver, Esq.

       Debtors:               It’Sugar LLC

       With a copy to:        Meland Budwick, P.A.
                              3200 Southeast Financial Center
                              200 South Biscayne Boulevard
                              Miami, Florida 33131
                              Attn: Michael S. Budwick, Esq.


        13.    Reaffirmation of Validity and Enforceability of the Prepetition Loan Documents.
Prepetition Obligors reaffirm each for themselves that the Prepetition Loan Documents are valid
and binding obligations of the Prepetition Obligors, that all terms, covenants, conditions,
representations, warranties and agreements contained in the Prepetition Loan Documents are
hereby ratified and confirmed in all respects. Debtors acknowledge and agree that there are no
claims, offsets, or other actions against SHL, and that there are no set-offs, counterclaims or


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defenses to the payment of the Prepetition Debt. Atlantic City and FLGC reaffirm their
obligations under the Guaranty.

      14.    Waiver and Release. To the maximum extent permitted by applicable Laws,
Debtors:

      (a) Waive: (i) protest of all commercial paper at any time held by SHL on which Debtors
      are in any way liable; and (ii) notice and opportunity to be heard before exercise by SHL
      of the remedies of self-help, setoff, or of other summary procedures permitted by any
      applicable Laws or by any agreement with Debtors, and, except where required hereby or
      by any applicable Laws, notice of any other action taken by SHL;

      (b) release SHL, its officers, directors, attorneys, employees, and agents from all claims
      for loss or damage caused by any act or omission on the part of any of them, except for
      their willful misconduct or gross negligence;

      (c) waive any defense arising by reason of, and agree that the rights of SHL and the
      Obligations will be absolute and unconditional irrespective of, (i) any disability or other
      defense of any other Person; (ii) the unenforceability or cessation from any cause
      whatsoever, other than the indefeasible payment in full, of all Obligations; (iii) the
      application by Debtors of the Proceeds of any Collateral for purposes other than the
      purposes represented by Debtors to SHL; (iv) any modification of the Obligations in any
      form whatsoever, including without limitation the renewal, extension, acceleration, or
      other changes in the time for payment, or other change in the terms of the Obligations or
      any part thereof; and (vi) any other circumstance that might otherwise constitute a
      defense available to, or a discharge of, any other Person in respect to the Obligations;

       (d) waive all claims, direct or indirect, absolute or contingent, against any other
      borrower, guarantor, endorser, or surety arising from or relating to this Agreement, any of
      the other Loan Documents, and/or the Obligations. Without limiting the foregoing, each
      Debtor waives all rights of reimbursement, exoneration, indemnification, and/or
      contribution from any other borrower, guarantor, endorser, or surety under or relating to
      this Agreement, any of the other Loan Documents, and or the Obligations. SHL may
      proceed against any Collateral securing the Obligations and against parties liable therefor
      in such order as it may elect, and neither Debtors nor, to the extent allowable by law, any
      creditor of Debtors will be entitled to require SHL to marshal assets. The benefit of any
      rule of law or equity to the contrary is hereby expressly waived; and

      (e) release, waive, discharge, covenant not to sue, acquit, satisfy and forever discharge
      SHL, its officers, directors, employees, agents and its affiliates and assigns from any and
      all liability, claims, counterclaims, defenses, actions, causes of action, suits,
      controversies, agreements, promises and demands whatsoever in law or in equity which
      the Debtors ever had, now have or may have, or which any personal representative,
      successor, heir or assign of obligor’s hereafter can, shall or may have against lender and
      yellow leaf, their officers, directors, employees, agents, and their affiliates and assigns,
      for, upon or by reason of any matter, cause or thing whatsoever including all actions of
      SHL taken or to be taken in connection with the Prepetition Loan Documents and the


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       Loan Documents. In addition to, and without limiting the generality of the foregoing, and
       in consideration of SHL's execution of this Agreement, the Debtors each covenant with
       and warrant unto SHL, and its affiliates and assigns, that there exist no claims,
       counterclaims, defenses, objections, offsets or claims of offsets against SHL or the
       obligation of the Debtors to pay the Prepetition Debt and the DIP Loan to SHL when and
       as they become due and payable..

        15.    Further Assurances. The parties will cooperate reasonably with each other and
with their respective representatives in connection with any steps required to be taken as part of
their respective obligations under this Agreement, and the parties agree (i) to furnish upon
request to each other such further information, (ii) to execute and deliver to each other such other
documents, and (iii) to do such other acts and things, all as the other party may reasonably
request for the purpose of carrying out the intent of this Agreement and the transactions
contemplated hereby

       16.     Governing Law and Jurisdiction. This Agreement will be deemed to be a contract
under the laws of the State of Florida and for all purposes will be governed by and construed and
enforced in accordance with the laws of such State. Unless the jurisdictional prerequisites are not
met, the parties hereto irrevocably consent to the exclusive jurisdiction of the United States
District Courts of Florida and of all state courts without waiver of right or removal, for the
purpose of any litigation concerning this Agreement. No party hereto will object to or contest
Florida as the proper venue for any action or proceeding to enforce terms hereof.
Notwithstanding the foregoing, all disputes regarding this Agreement involving Debtors arising
during the pendency of the Bankruptcy Cases will be heard and determined by the Bankruptcy
Court.

      17.  Jury Waiver. TO THE EXTENT NOT PROHIBITED BY APPLICABLE LAW
WHICH CANNOT BE WAIVED, EACH PARTY HERETO HEREBY WAIVES, AND
COVENANTS THAT IT WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT,
OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN RESPECT OF
ANY ISSUE, CLAIM, DEMAND, ACTION, OR CAUSE OF ACTION ARISING OUT OF OR
BASED UPON THIS AGREEMENT, ANY OTHER OF THE LOAN DOCUMENTS, OR THE
SUBJECT MATTER HEREOF, IN EACH CASE WHETHER NOW EXISTING OR
HEREAFTER ARISING OR WHETHER IN CONTRACT OR TORT OR OTHERWISE.
EACH PARTY HERETO ACKNOWLEDGES THAT IT HAS BEEN INFORMED THAT THE
PROVISIONS OF THIS SECTION CONSTITUTE A MATERIAL INDUCEMENT UPON
WHICH THE OTHER PARTIES HAVE RELIED, ARE RELYING, AND WILL RELY IN
ENTERING INTO THIS AGREEMENT. THE PARTIES HERETO MAY FILE AN
ORIGINAL COUNTERPART OR A COPY OF THIS SECTION WITH ANY COURT A
WRITTEN EVIDENCE OF THE CONSENT OF SUCH OTHER PARTY TO THE WAIVER
OF ITS RIGHTS TO TRIAL BY JURY.

       18.      Binding Effect, Assignment, Amendment and Negotiation. This Agreement will
inure to the benefit of, and will be binding upon, the respective successors and permitted assigns
of the parties hereto. Debtors have no right to assign any of their rights or obligations hereunder
without the prior written consent of SHL. This Agreement may be amended only by a writing


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signed on behalf of each party. This Agreement has been negotiated by the parties and each party
has had the benefit of counsel. This Agreement will not be construed against any party.

       19.     Severability. The provisions of this Agreement are intended to be severable. If
any provision of this Agreement is held invalid or unenforceable in whole or in part in any
jurisdiction such provision will, as to such jurisdiction, be ineffective to the extent of such
invalidity or unenforceability without in any manner affecting the validity or enforceability of
such provision in any other jurisdiction or the remaining provisions of this Agreement in any
jurisdiction.

       20.   Survival. All of the representations and warranties set forth in this Agreement, the
other Loan Documents will survive until all Obligations are paid and satisfied in full.

        21.     Counterparts. This Agreement may be executed in counterparts (including by
means of facsimile or pdf signature pages), any one of which need not contain the signatures of
more than one party, but all such counterparts taken together will constitute one and the same
agreement. This Agreement and each other agreement or instrument entered into in connection
herewith or therewith or contemplated hereby or thereby, and any amendments hereto or thereto,
to the extent signed and delivered by means of a facsimile machine or other electronic
transmission (including .pdf files), will be treated in all manner and respects and for all purposes
as an original agreement or instrument and will be considered to have the same binding legal
effect as if it were to the original signed version thereof delivered in person. At the request of
any party hereto or to any such agreement or instrument, each other party hereto or thereto will
re-execute original forms thereof and deliver them to all other parties, except that the failure of
any party to comply with such a request will not render this Agreement invalid or unenforceable.
No party hereto or to any such agreement or instrument will raise the use of a facsimile machine
or other electronic transmission to deliver a signature or the fact that any signature or agreement
or instrument was transmitted or communicated through the use of a facsimile machine or other
electronic transmission as a defense to the formation or enforceability of a contract and each
party forever waives any such defense.

       22.    Section Headings. The section headings in this Agreement are for convenience
only and do not limit, define, or construe the contents of the sections.

       23.     Seal. This Agreement is intended to take effect as an instrument under seal.

        24.     No Contrary Action. Debtors will not apply to the Bankruptcy Court for the
authority to take any action that is prohibited by the terms of this Agreement or any of the other
Loan Documents or refrain from taking any action that is required to be taken by the terms of
this Agreement or any of the other Loan Documents. The parties acknowledge that the foregoing
will not preclude the entry of any order of the Bankruptcy Court approving or authorizing an
amendment or modification to this Agreement or the other Loan Documents permitted by this
Agreement, which order will be acceptable to SHL whose consent is required to approve such
amendment or modification.




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SHL HOLDINGS, INC.                    IT’SUGAR LLC



By:                                   By:

Its:                                  Its:

IT’SUGAR ATLANTIC CITY LLC            IT’SUGAR FLGC LLC



By:                                   By:

Its:                                  Its:

                                      IT’SUGAR FL I, LLC



                                      By:

                                      Its:




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                                           IT'SUGAR, LLC
                          DIP Loan - For the Period 9/23/20 to 12/12/20



Receipts:
Projected Store Sales                $     10,129,585
Projected Wholesale Sales            $        225,783
Projected e-commerce & Partnering    $      1,114,851
Projected New Temp Store Sales       $        496,111
Sales Tax Collected                  $        506,479
  Total Receipts                     $     12,472,808

Disbursements:
Sales Taxes Paid                     $       (362,877)
Inventory Purchases                  $     (4,486,928)
Store Payroll Disbursement           $     (2,935,408)
Corporate Payroll Disbursement       $     (1,263,740)
Severances                           $        (64,369)
Shared Services Allocation           $       (105,000)
Store Controllables                  $       (507,160)
Corporate Controllables              $       (381,703)
Capex Funding - Temp Stores          $     (1,248,198)
Occupancy                            $     (4,940,685)
  Subtotal Operating Costs           $    (16,296,068)

Filing Fees & Expenses:
Legal - M&B                                  (160,000)
US Trustee                                     (4,750)
Financial Advisor - Algon                    (240,000)
Creditor's Committee Counsel                  (16,000)
   Subtotal Filing Fees                      (420,750)

 Total Disbursements                 $    (16,716,817)

Net Change in Cash                   $     (4,244,009)


Recap of Cash Activity
Beginning Cash - 9/23/20             $        500,000
Net Change in Cash                   $     (4,244,009)
DIP Financing Requested              $      4,000,000
Projected Cash - 12/12/20            $        255,991

DIP Financing Requested              $      4,000,000




                                                                             EXHIBIT A
